Case 10-93904-BHL-11   Doc 1079-1   Filed 03/09/12   EOD 03/09/12 18:08:03   Pg 1 of
                                        55




                         Exhibit A




                                                                             Page 1
                                             Case 10-93904-BHL-11             Doc 1079-1       Filed 03/09/12     EOD 03/09/12 18:08:03       Pg 2 of
                                                                                                   55
                                                                           US Department of Agriculture
                                                                Grain Inspection, Packers and Stockyards Administration
                                                                        Packers and Stockyards Program (P&SP)
                                                                                   Bond Claim Schedule
                                                                                 Eastern Livestock Co., LLC
                                                                         135 West Market Street New Albany, IN 47150
                         Claimant                                Address               City       State   Zip      Phone #1        Phone #2                  Fax           Amount of Claim
3 B Farms, LLC                                       709 N. Pratt St., PO Box 6     Yates Center     KS   66783   (626) 625-2763                       (620) 625-2763                $4,046.26
24 Trading Co., LLC                                  PO Box 1530                    Canutillo        TX   79835   (575) 589-5515                       (575) 589-5513                $2,240.00
Alabama Livestock Auction, Inc.                      PO Box 279                     Uniontown        AL   36786   (334) 628-6069        (334) 247-2303 (334) 628-2371              $155,669.96
Alfred Keeton Cooper                                 1397 Upper Hilham Rd.          Livingston       TN   38570   (931) 823-2427                                                     $2,618.39
Allen B. Brown                                       248 A.B. Brown Rd.             Cave City        KY   42127   (270) 773-3571        (270) 590-1950                                 $343.46
Allen Miller                                         701 Falling Springs Hollow     Horse Caves      KY   42749   (270) 786-4316                                                     $2,555.38
Alvin Barbee                                         9730 Brownsville Rd.           Park City        KY   42160   (270) 597-2307                                                     $5,525.12
Andrew Beau Tabor                                    166 Edgar Ford Rd.             Summer Shade     KY   42166   (270) 590-5299                                                     $8,824.34
Angie Honaker                                        1186 Leatherwood Rd.           Tompkinsville    KY   42167   (270) 487-1520                                                       $858.01
Arab Livestock Market Inc. c/o Robbie Gibbs          PO Box 178                     Arab             AL   35016   (256) 586-4212        (256) 490-2583                              $36,574.97
Arnold Farms c/o Howard B. Arnold                    9845 Weatherly Rd.             Lascassas        TN   37085   (615) 273-2223        (615) 631-4485                              $49,782.60
Arthur Andrew Sturdivant                             740 Coles Bend Rd.             Smiths Grove     KY   42171   (270) 678-4795        (270) 614-1206                               $1,835.66
Arthur Lowhorn                                       3160 Letterhead Oak Road       Albany           KY   42602   (606) 387-6932                                                     $1,212.34
Ash Flat Livestock Auction, Inc.                     PO Box 308                     Ash Flat         AR   72513   (870) 994-7311                       (870) 994-7314               $15,575.32
Ashville Stockyard, Inc.                             PO Box 580                     Ashville         AL   35953   (205) 594-7087        (205) 594-5151 (205) 594-5672               $30,260.15
Athens Stockyard, LLC                                PO Box 67                      Athens           TN   37371   (423) 745-3582        (965) 556-5590 (423) 745-2444              $680,072.61
Avalon Russell                                       2727 Poplar Springs Rd.        Glasgow          KY   42141   (270) 427-4348                                                     $1,179.24
B&F Cattle (Joe Farmer)                              300 W Lamar St                 Richland         TX   76681   (903) 654-7945        (903) 362-3901                               $6,750.00
Baca County Feed Yard, Inc.                          45445 Hwy 160                  Walsh            CO   81090   (719) 324-5292                                                   $398,555.77
Ben H. Armstrong                                     2290 Lettered Oak Rd.          Albany           KY   42602   (606) 387-7498                                                     $2,173.32
Bennie Mutter                                        527 Mutter Rd                  Glasgow          KY   42141   (270) 646-3895        (270) 670-1341                               $7,661.21
Bill Moler dba D&B Cattle Co.                        100 Bonita St.                 Elk City         OK   73644   (580) 225-1431        (580) 497-7200                                 $774.61
Bill Warren                                          180 Qualls Lane                Livingston       TN   38570   (931) 265-1066        (931) 823-1753                               $4,732.39
Billie W. Hurt                                       29 Barren River Dam Rd         Scottsville      KY   42164         622-4393                                                    $11,583.25
Billy Neat                                           705 B Neat Road                Columbia         KY   42728   (270) 378-6168                                                     $1,225.79
Billy Wayne Price                                    1391 Summersville Rd.          Greensburg       KY   42743   (270) 932-7074                                                       $787.52
Blue Grass South Livestock Market, LLC ***           PO Box 438, 277 Cordier Lane   Stanford         KY   40484   (606) 365-0665        (859) 361-4221 (859) 455-3304              $279,988.34
Blue Grass Stockyards of Richmond, LLC ***           348 K Street                   Richmond         KY   40475   (859) 623-1280        (859) 255-7701 (859) 455-3304              $181,440.99
Bluegrass Stockyards of Campbellsville, LLC ***      PO Box 509                     Campbellsville   KY   42719   (270) 465-4051                       (859) 455-3304              $283,175.59
Bluegrass Stockyards East, LLC ***                   PO Box 765                     Mt. Sterling     KY   40353   (859) 498-9625                       (859) 455-3304               $26,796.22
Bluegrass Stockyards, LLC ***                        PO Box 1623                    Lexington        KY   40588   (859) 255-7701                       (859) 455-3304              $528,367.41
Bluegrass - Maysville Stockyard, LLC***              7124 AA Hwy East               Maysville        KY   41056   (606) 759-7280                       (606) 759-5723               $35,831.99
Bob Sawyers                                          616 Willis Creek Rd.           Albany           KY   42602   (606) 387-5677        (606) 688-2845 (606) 387-8609                $7,874.23
Bobby Groce                                          1567 Oil City Rd.              Glasgow          KY   42141   (270) 678-5811        (270) 576-0600                                 $835.47
Bobby L. Stinnett                                    62 Tatesville Rd.              Palmer           TN   37365   (931) 779-5134                                                       $753.23
Bovine Medical Associates                            1500 Soper Rd.                 Carlisle         KY   40311   (859) 383-4506        (859) 953-0508 (859) 383-0040                $6,630.00
Boyd Copas                                           2195 E. Phillippi Church Rd.   Tompkinsville    kY   42167   (270) 427-4574                                                       $897.93
Brack D. Briscoe                                     2069 S Meridian Rd.            Mitchell         IN   47446   (812) 653-1200                                                     $9,894.15
Brad Flood                                           910 W. Main St.                Cloverport       KY   40111   (502) 376-0258                                                     $4,599.00
Bradbury & York Cattle                               PO Box 588                     Tatum            TX   75691   (903) 720-0008        (903) 926-4105                              $98,725.23
Brenda Gayle Hunt                                    1419 Akersville Rd.            Fountain Run     KY   42133   (270) 427-6530        (270) 434-3411                               $3,227.15
Brian Scott                                          4163 Aetna Grove Church Rd.    Summersville     KY   42782   (270) 324-4228        (270) 299-6055                               $7,311.46
Brown Trucking                                       2725 N. 383                    Wetumke          OK   74883   (405) 452-3901        (405) 641-2014                               $5,244.00
Brystice Amanger Wright                              198 Dry Fork Rd.               Brush Creek      TN   38457   (615) 683-8604                                                       $656.72
Buffalo Livestock Auction, LLC                       Box 427                        Buffalo          WY   82834   (307) 684-0789        (307) 751-1213 (307) 684-0616               $53,939.00
Burke Livestock Auction                              420 W 4th St.                  Burke            SD   57523   (605) 775-2628                                                    $14,097.27
Butch Gibson                                         2431 Breeding Rd.              Edmonton         KY   42129   (270) 432-5948        (270) 576-5151                               $2,955.16
C&C Farm c/o Teddy & Toby Chapman                    293 Chapman Rd.                Tompkinsville    KY   42167   (270) 487-9332        (270) 427-1347                               $1,470.36
Carol T. Walden                                      1341 Kino Rd.                  Glasgow          KY   42141   (270) 678-4264              590-6280                               $1,045.19
Carolyn Bledsoe                                      1131 Weed Sparksville Rd.      Columbia         KY   42728   (270) 378-6583                                                       $507.47
Carolyn Thompson                                     1300 Ritchie Lane              Bardstown        KY   40004   (502) 460-6140                         (502) 331-9265                $341.46
Carl Jeffries                                        471 Hubbard Harris Rd.         Edmonton         KY   42129   (270) 565-4507                                                     $2,078.96
Cattleman's Livestock                                P.O. Box 26                    Lakeland         FL   33802   (863) 665-5088                         (863) 667-0658             $82,902.14
Chad Daniel Withrow                                  2100 Bishop Rd                 Glasgow          KY   42141   (270) 678-5316        (270) 670-4817                               $8,103.77
                                                                                                                                                                          Page 2
                                            Case 10-93904-BHL-11              Doc 1079-1          Filed 03/09/12         EOD 03/09/12 18:08:03       Pg 3 of
                                                                                                      55
                        Claimant                                  Address                    City        State   Zip      Phone #1        Phone #2                  Fax           Amount of Claim
Champ Colley                                         2002 Law 2120                     Sarcoxie           MO     64062   (417) 285-3853                                                     $2,688.60
Charles Graham Farms                                 PO Box 775                        Gatesville         TX     76528   (254) 865-7116        (254) 535-1736 (254) 865-8424              $441,387.97
Charles Leon Isenberg                                4942 Edmonton Rd.                 Tompkinsville      KY     42167   (270) 427-1297                                                     $4,025.62
Charles M. Rush                                      5335 Tompkinsville Rd.            Summer Shade       KY     42166   (270) 428-2413                                                       $627.00
Charles W. Haines Jr                                 1925 Loren Collins Rd             Glen Fork          Ky     42741   (270) 378-6490                         (270) 378-5490              $3,565.14
Charlie Dee Brown                                    4931 Old Burkesville Rd.          Albany             KY     42602   (606) 387-7746                                                    $12,765.60
Charlie T. Fisher                                    448 Lambert Rd.                   Scottsville        KY     42164   (270) 622-4968        (270) 618-0040                                 $955.21
Chip Lee Miller dba Chip Miller Trucking, Inc.       PO Box 126                        St. George         KY     66535   (785) 250-5176                                                     $3,879.75
Chris Barton                                         1172 Bridge Hollow Rd.            Scottsville        KY     42164   (270) 622-3277        (270) 622-8687                               $9,085.56
Clarence B. Gilbert                                  4374 Bloomfield Rd.               Taylorsville       KY     40071   (502) 477-8732                                                     $8,147.97
Claude Jones                                         6 Claue Jones Rd.                 Edmonton           KY     42129   (270) 432-7302                                                     $1,700.90
Clinton Alton Darnell                                480 Blevins Hollow Rd.            Piney Creek        NC     28663   (336) 359-8103        (336) 657-0761                             $154,536.60
Coffeyville Livestock Market LLC                     PO Box 1074                       Coffeyville        KS     67337   (918) 331-7705                                                    $19,889.50
Corcoran Trucking, Inc.                              221 Lomond Lane                   Billings           MT     59101   (406) 245-6065                       (406) 245-8598               $32,555.19
CPC Livestock                                        13196 Holland Rd.                 Fountain Run       KY     42133   (270) 618-0496                       (270) 622-6062              $624,326.35
Crooked Oak Services (Clinton Crowley)               19575 Crooked Oaks Rd             St. Onge           SD     57779   (605) 642-2606        (605) 381-0446 (606) 642-2606                $2,158.27
Crumpler Brothers                                    4925 Friberg Church Rd.           Wichita Falls      TX     76305   (940) 761-2549        (940) 867-2827 (940) 767-1913              $106,691.01
Cullman Stockyard, Inc.                              75 County Rd. 1339                Cullman            AL     35058   (256) 734-4531                       (256) 734-4626               $42,708.02
Dalton W Bragg                                       869 Society Hill Rd               Edmonton           KY     42129   (270) 432-5614        (270) 670-5566                               $3,277.00
Dane Braden dba American Rock                        131 Industrial Park Dr. Suite 3   Hollister          MO     65672   (417) 337-7600                       (417) 339-7499                  $463.64
Dane Braden dba Razorback Farms of Missouri          131 Industrial Park Dr. Suite 3   Hollister          MO     65672   (417) 337-7600                       (417) 339-7499               $48,559.10
Danny Clifton Billingsley                            197 Barbour Cemetary Rd.          Glasgow            KY     42141   (270) 427-4707                                                       $506.77
Dante Zago                                           8201 Couchville Pk.               Mt. Juliet         TN     37122   (615) 294-2461          6154597024                                $34,093.10
Darrell Lynn Wood                                    845 Captain Redford Rd.           Cave City          KY     42127   (270) 773-3790                                                     $4,825.90
David E. Read                                        583 Love Knob Rd.                 Glasgow            KY     42141   (270) 678-7686        (270) 590-8282                                 $572.37
David Gordon                                         1758 Old Temple Hill Rd.          Tompkinsville      KY     42167   (270) 487-6568        (270) 427-6342                               $3,596.03
David Holley                                         377 Blue Springs Rd.              Knob Lick          KY     42154   (270) 670-7304           2705654465                                $2,262.15
David L. Rings                                       1288 Frontage Rd.                 Russell Springs    KY     42642   (270) 866-5535        (270) 585-1824                               $7,153.45
David Lynn Cassady                                   1497 Pleasant Valley Church Rd.   Horse Cave         KY     42749   (270) 565-4628        (270) 670-1466                               $1,106.65
David Michael Burgess                                360 Cherokee Rd.                  Lucas              KY     42156   (270) 646-3598                                                       $361.21
Delphia Ann Garrett                                  4567 Randolph-Good Luck Rd.       Summer Shade       KY     42166   (270) 428-2582                                                     $8,763.97
Dennis Ray Neat                                      6098 Burkesville Rd.              Columbia           KY     42728   (270) 378-6971                                                     $6,891.98
Denwalt & Son Cattle Co.                             10004 Reno W.                     El Reno            OK     73036   (405) 833-0922                         (405) 262-2890             $51,413.40
Dick Wallace                                         8045 FM 182                       Gatesville         TX     76528   (254) 494-3238                                                    $49,363.43
Dickson Livestock Center, Inc c/o Terry Lemons       PO Box 591                        Dickson            TN     37056   (615) 446-9066        (615) 948-9066 (615) 446-9718                $7,832.81
Dollar K Cattle                                      PO Box 125                        Elmore City        OK     73433   (580) 788-2291        (405) 207-8244                             $160,335.21
Donald Hawks                                         8829 Finney Rd.                   Glasgow            KY     42141   (270) 646-2906                                                     $5,462.71
Donald R. Alexander                                  16550 Cainsville Rd.              Lancassas          TN     37085   (615) 273-2186                                                    $26,717.77
Donald R. Sympson                                    151 Murrays Run Rd.               Bardstown          KY     40004   (502) 349-6050        (502) 507-4700                               $5,789.30
Donald Richard Lyle                                  8627 New Glasgow Rd.              Scottsville        KY     42164   (270) 622-5448                                                     $3,130.99
Donnie Coomer                                        150 Coomer Rd.                    Edmonton           KY     42129   (270) 432-5192        (270) 646-8405                               $1,192.39
Dorinda Morrison                                     8035 Fairplay Rd.                 Columbia           KY     42728   (270) 378-5993        (270) 634-1241                                 $535.83
Doris Jean Depp                                      PO Box 43163                      Louisville         KY     40253   (502) 387-8624                                                    $11,705.57
Dothan Livestock Co                                  9711 Hwy 231 South                Dothan             AL     36301   (334) 677-3361        (850) 258-4512 (334) 677-0885               $28,683.36
Doug Browning                                        3730 Edmonton Rd.                 Glasgow            KY     42141         678-5228                                                     $2,085.80
D.S. Johnson Farms                                   1420 Mill Creek Rd.               Tompkinsville      KY     42167   (270) 487-0043        (270) 427-7629                               $2,058.27
Dwayne Smith                                         4238 Garfield Hinds Rd.           Monroe             TN     38573   (931) 823-6323                                                     $2,146.81
East Mississippi Farmers Livestock Company           12190 Pecan Ave.                  Philadelphia       MS     39350   (601) 656-6732                         (601) 656-7069             $16,383.48
Ed Vander Brink                                      319 Main St.                      Alvord             IA     51230   (712) 473-2115        (712) 395-0980                               $4,218.00
Eddie Claywell                                       PO Box 498                        Burkesville        KY     42717   (270) 433-5288                                                     $1,478.59
Eddie Eicke                                          11888 CR 1202                     Snyder             TX     79549   (325) 573-7969        (325) 575-3828 (325) 573-7918               $53,351.74
Edward L. Arterburn                                  PO Box 186                        Park City          KY     42160   (270) 749-2113                                                    $12,003.95
Edwin A. Strickland                                  3408 Hwy 389                      Phela              MS     39755   (662) 418-8190                                                   $155,790.23
Eischeid Trucking, LLC c/o Joseph Leonard Eischeid   32390 454th                       Motley             MN     56466   (320) 333-2558                         (218) 352-6577              $5,978.80
Elmer C. Rigdon                                      1320 Horton Rigdon Rd.            Glasgow            KY     42141   (270) 453-3715                                                       $434.68
Ephriam Wilson                                       5614 County House Rd              Tompkinsville      KY     42167   (270) 487-5404                                                     $4,624.22
Erik Paul Brown                                      707 Cleveland Ave.                Glasgow            KY     42141   (270) 670-2315                                                     $1,883.10
Farmers Livestock Marketing                          PO Box 87                         Carthage           MS     39051   (601) 267-7884        (601) 416-8024                              $24,191.92
Fischer Bros. Trucking, LLC                          29549 431st Ave.                  Lesterville        SD     57040   (605) 660-4057                                                     $3,068.00
Floyd Haywood Marr                                   4532 Sandhill Rd.                 Louisville         KY     40219   (502) 964-9397        (502) 609-5655                               $2,192.82
Four Way Cattle Co. c/o Tom Estes                    Box 130                           Adrian             TX     79001   (806) 267-2509        (806) 344-6567                             $106,796.71
Fred L. Dickson                                      1636 Prices Creek Rd.             Edmonton           KY     42129   (270) 432-5543                                                       $835.92

                                                                                                                                                                                 Page 3
                                              Case 10-93904-BHL-11                     Doc 1079-1         Filed 03/09/12        EOD 03/09/12 18:08:03                   Pg 4 of
                                                                                                              55
                          Claimant                                         Address                   City       State   Zip      Phone #1                 Phone #2                    Fax           Amount of Claim
Frederick David Thomas                                        1150 Christin Sano Rd.            Columbia         KY     42728   (270) 384-6598                     (717) 307-0340                             $2,326.85
Fredin Brothers                                               Highway 14E Box 37                Springfield      Mn     56087   (507) 723-4281                                                              $582,389.77
FNJ, LLC                                                      PO Box 596                        Wisner           NE     68791   (402) 380-8000                     (402) 529-6007 (402) 529-6117             $15,256.83
Forbis Farms                                                  230 Walnut Hills Rd.              Summer Shade     KY     42166   (270) 428-4391                                                                $2,597.80
Fort Payne Stockyard, Inc.                                    PO Box 681126                     Fort Payne       AL     35968   (256) 845-1028                     (256) 996-7350                           $171,017.28
Fousek Farms & Trucking, LLC                                  28381 US Hwy 281                  Armour           SD     57313   (605) 724-2015                     (605) 491-0204                            $10,702.46
Gabriel Moreno Medina                                         1201 N. Mesa Suite B              El Paso          TX     79902   (915) 585-8823                     (915) 351-6900                           $196,484.51
Garrett, Susan (Brilyn & Bailee)                              831 Glasgow Rd.                   Edmonton         KY     42129   (270) 432-4657                     (270) 579-1515                             $1,304.06
Gary Bell                                                     PO Box 122                        Edmonton         KY     42129   (270) 432-5716                     (270) 576-7980                            $14,289.70
Gary Franklin Whitley                                         794 Lawrence Rd.                  Smiths Grove     KY     42171   (270) 563-4392                                                                $1,092.90
Gary Tate                                                     6510 West Lake Rd.                Abilene          TX     79601   (325) 673-6112                     (325) 338-5226 (325) 673-7765            $159,268.50
Gary W. Campbell                                              3191 Caudill Rd.                  Franklin         KY     42134   (270) 586-9830                     (615) 325-7749                             $3,761.33
Gary Welch Cattle Company                                     PO Box 10                         Norman           NC     28367   (910) 974-9270                     (336) 210-7156 (910) 974-4328            $102,971.41
Gene Shipman Cattle Co.                                       11401 E. FM 1075                  Happy            TX     79042   (806) 764-3563                     (806) 647-9759 (806) 764-3544             $47,848.00
George E. Hora dba George Hora Trucking, LLC                  1894 N. Dubuque Rd.               Iowa City        IA     52245   (319) 358-1700                     (319) 331-5851 (319) 354-4770              $4,566.20
George E. Logsdon                                             11045 Hardyville Rd.              Hardyville       KY     42746   (270) 528-4498                     (270) 405-7320                               $933.38
Glen Hurt                                                     7950 Old Glasgow Rd.              Scottsville      KY     42164   (270) 622-4477                                                                $5,919.27
Glen R. Franklin                                              PO Box 703                        House            NM     88121   (575) 279-6772                     (575) 799-3227                           $501,030.00
Glenwild Stockyard, Inc.                                      3383 Hwy 51 S.                    Grenada          MS     38901   (662) 226-1900                                                               $13,227.30
Gregory Lynn Johnson                                          2750 Pleasant Valley Church Rd.   Center           KY     42214   (270) 565-4612                     (270) 590-2199                             $1,132.58
Halee Bunch                                                   2821 Columbia Rd.                 Burkesvile       KY     42717   (270) 459-1376                                                                $8,544.20
Hardee Livestock Market, Inc.                                 PO Box 1479                       Wauchula         FL     33873   (863) 773-9747                     (863) 773-9722                            $26,806.10
Hardin County Stockyard, Inc.                                 PO Box 189                        Waynesboro       TN     38485   (931) 722-3100                     (931) 224-2247 (931) 722-3618             $26,195.92
Harold Whitaker Livestock Transportation, LLC                 PO Box 1179                       Roswell          NM     88202   (575) 420-0639                     (575) 625-2581 (575) 625-2056              $6,443.85
Hilliard-McKettrick Investments, Inc. dba Arcadia Stockyard   PO Box 1418                       Arcadia          FL     34265   (863) 494-3737                     (863) 494-3108 (863) 494-5933            $126,899.77
Homer Copeland                                                295 Copeland Ln.                  Celina           TN     38551   (931) 243-2348                                                                $7,065.88
Ike's Trucking, Inc. c/o Charlie Isaac Jacobs                 PO Box 81                         St. Paul         VA     24283   (276) 762-0803                     (276) 393-1195 (276) 393-4543             $82,879.26
Issac M. Boutwell                                             1815 Camn School LN               Eastview         KY     42752   (270) 862-3018                                                               $17,312.23
J&J Livestock Trucking                                        PO Box 202                        Darrouzett       TX     79024   (806) 624-3742                     (806) 624-4112                            $10,541.00
Jack Roth Trucking                                            22147 Y Hwy.                      Booneville       MO     65233   (660) 882-2074                     (660) 537-0031 (660) 882-2094              $9,626.50
Jack Stevens                                                  1121 Chapel Hill Rd.              Morganfield      KY     42437   (270) 836-5136                     (270) 333-4691                             $2,928.75
Jackie Estel Young                                            312 Beauty Swamp Rd.              Monroe           TN     38573   (931) 823-1161                     (931) 397-2964                             $2,999.77
Jackie Young                                                  1336 Claude Jones Road            Edmonton         KY     42129   (270) 576-5175                                                                $2,768.32
James G. Sympson                                              608 Murray's Run Rd.              Bardstown        KY     40004   (502) 348-8479                                                               $17,142.12
James H. Brass                                                PO Box 777                        Coldwater        KS     67029   (620) 582-2637                                                              $157,606.47
James H. Gibson                                               1990 Columbia Rd.                 Edmonton         KY     42129   (270) 432-5982                     (270) 670-1613                             $3,986.79
James Lee Elmore                                              1215 Hudgins Hwy                  Summersville     KY     42782   (270) 932-7316                                                               $22,236.60
James R.Thompson                                              1300 Ritchie Ln.                  Bardstown        KY     40004   (502) 827-4764                                    (502) 331-9265                $405.00
James Robert Flickinger                                       417 Flickinger Ln.                Glasgow          KY     42141   (270) 428-3772                                                                $5,854.20
Janousek Farms, Inc.                                          36982 US Hwy 18                   Fairfax          SD     57335   (605) 654-2897 (605) 830-1077 or (605) 830-9931                             $167,646.93
Jared Ross Smith                                              989 West Black Dot Rd.            Knob Lick        KY     42154   (270) 579-2463                                                                $2,206.75
Jason Haley                                                   265 Haley Rd.                     Watertown        TN     31784   (615) 504-3010                                                               $11,743.88
Jay Burford                                                   108 Glen Oaks Rd                  McDonough        GA     30253   (404) 886-2463                                                                $1,942.60
J.C. Bar Trucking, Inc. c/o Charles Graham                    210 Windy Lane                    Gatesville       TX     76528   (254) 865-7116                     (254) 865-8441 (254) 865-8424             $17,865.20
JC Billingsley                                                2621 Kino Rd.                     Glasgow          KY     42141   (270) 428-2732                     (270) 428-9969                             $1,083.52
J.C. Willis                                                   7449 Greensburg Rd.               Greensburg       KY     42743   (270) 384-2491                                                                  $401.78
JD Cattle Company, Inc.                                       1196 Twin Forks Lane              St. Paul         NE     68873   (308) 750-0198                                                               $13,761.00
Jeff A. Mowers                                                1200 Blacks Ferry Rd.             Burkesville      KY     42717   (270) 433-5712                     (931) 397-2708                               $779.14
Jeffery Lynn Young                                            518 Willow Grove School Rd.       Allons           TN     38541   (931) 267-9820                                    (931) 823-0620              $6,203.56
Jerel Smith                                                   819 Black Dot Rd.                 Knob Lick        KY     42154   (270) 453-3553                     (270) 404-5687                             $2,206.76
Jerry Bagby                                                   5360 Hwy. 1464                    Greensburg       KY     42743   (270) 932-5555                                                                $1,225.09
Jerry Herald                                                  1191 Oakhill School Rd.           Smiths Grove     KY     42171   (270) 749-2099                                                                $2,920.66
Jerry Middletom                                               1108 W. Ridge                     McAlester        OK     74501   (918) 423-5371                     (918) 424-4348 (918) 423-6772             $28,600.70
Jerry Wayne Jordan                                            6046 Simmons Bluff Rd.            Lebanon          TN     37090   (615) 286-2200                     (615) 387-6343                            $34,223.75
Jesse Phillip Whitlow                                         5180 Randolph-Goodluck Rd         Summer Shade     KY     42166   (270) 646-0223                                                                $7,879.05
Jesse R. Brown                                                107 Karakal Dr.                   Glasgow          KY     42141   (270) 834-1191                     (270) 646-0771                             $1,159.25
Jesse W. Simpson                                              415 Jesse Simpson Rd.             Tompkinsville    KY     42167   (270) 487-8874                     (270) 427-8380                             $6,006.05
Jimmie Dale High                                              1150 Sulphur Lick Rd              Tompkinsville    KY     42167   (270) 487-6052                     (270) 407-2044                             $4,043.15
Jimmie Rogers, Inc.                                           5042 Hwy 54                       Liberal          KS     67901   (620) 624-8145                                    (620) 624-0968              $5,040.79
Jimmy Harmon                                                  4028 Greensburg Rd.               Columbia         KY     42728   (270) 384-4447                                                                $1,118.07
Jimmy Hendrick                                                PO Box 127                        Smiths Grove     KY     42171   (270) 563-2277                                                               $10,567.29
Jimmy Manion                                                  107 Indie Circle                  Glasgow          KY     42141   (270) 590-1930                                                                $4,051.28

                                                                                                                                                                                                   Page 4
                                            Case 10-93904-BHL-11             Doc 1079-1         Filed 03/09/12               EOD 03/09/12 18:08:03       Pg 5 of
                                                                                                    55
                        Claimant                                 Address                   City         State      Zip        Phone #1        Phone #2                  Fax           Amount of Claim
John D. Thompson                                    PO Box 224                       Edmonton            KY       42129      (270) 432-5059        (270) 646-8218                                 $7,026.20
John L. Page                                        PO Box 250                       Tompkinsville       KY       42167      (502) 316-1080                                                       $2,520.27
John Neagle                                         2043 Hayes Pondsville Rd.        Smiths Grove        KY       42171      (270) 590-1383                                                       $6,260.26
John Thomas Sexton                                  3711 Knob Lick-Wisdom Rd.        Knob Lick           KY       42154      (270) 432-0198                         (270) 651-5594                $2,511.81
Johnny Bell                                         108 North Green Street           Glasgow             KY       42141      (270) 651-7005        (270) 590-0110                                 $6,124.07
Joplin Regional Stockyards dba B&M Cattle Co.       PO Box 634                       Carthage            MO       64836      (417) 548-2333                                                     $484,724.50
Joplin Regional Stockyards , Inc.                   PO Box 634                       Carthage            MO       64836      (417) 548-2333                                                   $1,179,481.86
Joshua Brian Loftis                                 460 Stockton Lane                Gainesboro          TN       38562      (931) 268-8310        (931) 397-1938                                 $5,469.41
Joshua Pitcock                                      33 Moore Rd                      Summer Shade        KY       42166      (270) 590-0377                                                       $1,175.85
Joyce or Paul Barnes                                1715 Karen Circle                Bowling Green       KY       42104      (270) 782-5937                                                         $920.72
Julie Platt                                         PO Box 164                       New Castle          UT       84756      (435) 439-5359        (435) 668-3143                                 $3,416.20
Junior Martin                                       1233 Hollow Rd                   Glasgow             KY       42141      (270) 579-5555                                                      $11,403.90
KD Farm Service, LLC c/o Ken Davis                  PO Box 330                       Grandview           TX       76050      (817) 866-2641        (817) 366-0150                                $14,966.50
Keith Breeding dba B&B Farms                        8090 Greensburg Rd.              Greensburg          KY       42743      (270) 378-0103                                                       $6,393.67
Keith Kilmon                                        8095 Edmonton Rd                 Summer Shade        KY       42166      (270) 487-6945                                                       $1,949.05
Kelly Jeffries                                      471 Hubbard Harris Rd.           Edmonton            KY       42129      (270) 565-4507                                                         $524.51
Kenneth Bryant                                      6565 Russell Springs Rd.         Columbia            KY       42728      (270) 384-5830        (606) 219-6514                                 $1,151.92
Kenneth Cowles                                      1690 Chalybeate School Rd.       Bowling Green       KY       42101      (270) 597-2925        (270) 784-3456                                 $3,640.03
Kenneth Froedge                                     207 Tuney Geralds Rd.            Edmonton            KY       42129      (270) 670-2774                                                      $6,094.82
Kenneth Sanders                                     2487 Win School Rd.              Glasgow             KY       42141      (270) 646-2341        (270) 670-8307                                $4,497.03
Kentuckiana Livestock Market, Inc.                  PO Box 774                       Owensboro           KY       42302      (270) 785-4121                       (270) 785-9795               $109,304.82
Kness Trucking, Inc. c/o Judith Kness               PO box 463                       Chadwick             IL      61014      (815) 684-5175        (815) 979-1631                                $2,883.15
Knoxville Livestock Auction Center                  8706 Mascot Road                 Knoxville           TN       37924      (865) 933-1691        (865) 603-6410 (865) 933-8244                $67,578.75
L&F Cattle (Troy Lathan & Joe Foote)                8365 W. FM 217                   Gatesville          TX       76528      (254) 494-3243        (254) 404-5836 (254) 494-1345               $160,121.56
Larry Bragg                                         305 Bradshaw Rd.                 Austin              KY       42123      (270) 465-2368        (270) 590-2148                                $5,145.14
Larry Wayne Carter                                  6008 Lonestar Ridge Rd.          Edmonton            KY       42129      (270) 428-4301        (270) 404-2838                                  $633.09
Larry Woody                                         2245 Sanders Ridge Rd.           Columbia            KY       42728      (606) 787-4782                                                      $2,917.49
Las Animas Transfer Inc.                            242 Bent Ave.                    Las Animas          CO       81054      (719) 456-0606        (719) 384-8684 (719) 384-4533                $14,110.60
Laura Arrieta                                       1129 Stockwell Ln.               El Paso             TX     79902-2151   (614) 290-8456                                                     $16,981.44
Lawrence O. Richard                                 3151 Edmonton Rd.                Columbia            KY       42728      (270) 384-6583        (270) 378-0262                                $4,196.72
Leland Douglas Glass                                1814 Hiseville Park Rd.          Cave City           KY       42127      (270) 453-3486        (270) 576-5510                                $9,241.06
Lenice H. Gibson                                    8310 Subtle Rd.                  Edmonton            KY       42129      (270) 432-5479                                                        $901.27
Lenny Asbury                                        650 Mahogany Lane                Hardyville          KY       42746      (270) 565-2885        (270) 565-1331                                  $908.30
Leon Bogard Trucking                                2003 N. Spruce                   McAlester           OK       74501      (918) 916-3270        (918) 424-3554                               $10,539.92
Leonard Clifton Smith                               1133 Brown Road                  Park City           KY       42160      (270) 749-8331                                                      $5,760.62
Lewis Randall Richard                               2557 Richard Hollow Rd           Columbia            KY       42728      (270) 378-5191                                                      $3,295.19
Linda C. Wilson                                     399 Weed-Keltner                 Edmonton            KY       42129      (270) 378-5207        (270) 634-1702                                $4,275.95
Linden Stockyard Inc.                               PO Box 480160                    Linden              AL       36748      (334) 295-8707        (888) 371-2287 (334) 295-9878               $208,111.45
Lipscomb Bros Livestock Market                      PO Box 383                       Como                MS       38619      (662) 526-5427        (662) 514-5200 (662) 526-5427                 $4,062.70
Livingston Stockyard c/o William Tinsley            PO Box 398                       Livingston          AL       35470      (205) 652-7411                       (205) 652-2444                $26,333.05
Long Farms (Keith Long)                             992 Morrison Park Rd.            Glasgow             KY       42141      (270) 670-1388                                                      $6,880.08
Louis Cernoch, Jr.                                  6711 Green Meadow Ln.            Terrell             TX       75160      (972) 824-4846                                                    $308,174.59
Loyd Dale Page                                      9253 Edmonton Rd.                Summer Shade        KY       42166      (270) 487-6691                                                      $1,919.94
LW Miller Livestock, Inc.                           94 N 400 W                       North Salt Lake     UT       84054      (801) 936-5522                         (801) 936-5560              $15,312.35
Lynn D. Hirsch                                      502 Locust Lane                  Shelbyville         KY       40065      (502) 220-7156                                                     $33,142.20
Macon Stockyard, Inc.                               PO Box 476; 12409 Hwy 145        Macon               MS       39341      (662) 726-5122        (662) 726-5153 (662) 726-2591                $33,550.70
Madison A. Welch                                    4030 N. 900 E.                   Lafayette           IN       47905      (765) 589-3901                                                      $1,346.36
Mark W. Shirley                                     2127 Cave Ridge New Liberty Rd   Knob Lick           KY       42154      (270) 432-5965        (270) 576-0673                                $1,616.82
Mark Wayne Richmond                                 5121 Oak Ridge Rd                Ravenden Springs    AR       72460      (870) 243-0125           8702531642                                 $2,700.00
Marcia Cloud                                        2078 Whitney Woods Rd            Cave City           KY       42127      (270) 773-2562                                                      $1,309.95
Marion Bradford                                     197 Hidden Lake Rd.              Hendersonville      TN       37075      (615) 822-1943                         (615) 822-1943               $2,947.30
Matthew Cameron White                               577 Jamestown Hwy.               Livingston          TN       38570      (931) 403-5416        (931) 397-4240                                $5,793.12
Maxine Morgan Estate                                3965 Lawson Bottom Rd.           Burkesville         KY       42717      (270) 433-7953        (270) 459-0241                                $1,314.82
Maydell Whitlow                                     634 Philip Whitlow Rd.           Summer Shade        KY       42166      (270) 432-0073                                                      $3,644.87
McPhail Land & Cattle                               15888 N. 2235 Rd.                Mt. Park            OK       73559      (580) 481-9805        (580) 569-2778                               $54,968.66
Meridian Stockyards, Inc.                           PO Box 581                       Meridian            MS       39305      (601) 482-7275        (601) 416-2778 (601) 482-7785                $24,783.37
Michael A. Yeomans (Ocala Livestock Market)         PO Box 539                       Lowell              FL       32663      (352) 732-4544        (352) 266-0534 (352) 732-4362                $27,501.12
Michael Emberton                                    1491 Sulphur Lick Rd.            Tompkinsville       KY       42164      (270) 487-6034                                                      $4,564.01
Michael Perry Travis                                208 Oak Street                   Marion              KY       42064      (270) 965-4428                                                     $10,080.00
Michael Wade Loula                                  Rt. 1 Box 50                     Colony              OK       73021      (405) 797-3383        (580) 819-2935                               $52,794.60
Mid-Kentucky Livestock Market, LLC                  PO Box 134                       Upton               KY       42784      (270) 369-9999        (270) 763-7966                               $24,206.17
Mid-South Livestock Center, LLC                     PO Box 3033                      Lebanon             TN       37088      (931) 294-5101        (615) 444-8328 (931) 294-5107               $273,816.02

                                                                                                                                                                                     Page 5
                                                  Case 10-93904-BHL-11             Doc 1079-1       Filed 03/09/12         EOD 03/09/12 18:08:03       Pg 6 of
                                                                                                        55
                          Claimant                                     Address                  City       State   Zip      Phone #1        Phone #2                  Fax           Amount of Claim
Mid State Stockyards, LLP                                 PO Box 210                      Letohatchee       AL     36047   (334) 227-8000                         (334) 227-0900             $95,916.68
Mike Luke                                                 4845 Cookeville Boatdock Rd.    Baxter            TN     38344   (931) 252-0999        (931) 252-4055                              $10,509.69
Milligan Farms                                            651 Grassy Springs Rd.          Columbia          KY     42728   (270) 384-6129        (270) 378-0587                               $4,271.36
Mitchell Kinser                                           2991 Jim Glover Rd.             Glasgow           KY     42141   (270) 432-4603        (270) 361-1168                               $3,526.59
Moose Sullivan (Leonard)                                  5241 Rickman Rd.                Cookeville        TN     38506   (931) 498-2863        (931) 260-5942                                 $916.22
Mosley Cattle Auction, LLC                                1044 Arlington Ave.             Blakely           GA     39823   (229) 723-7070        (229) 308-3718 (888) 461-7919              $670,949.88
Moulton Stockyard, Inc., c/o William Whiteshell           13130 AL Hwy 157                Moulton           AL     35650   (256) 974-3133        (256) 974-3150                              $10,232.93
Myles Spurling                                            2120 Spurlington Rd.            Campbellsville    KY     42718   (270) 469-8266                                                       $125.00
Natural Bridge Stockyard                                  PO Box 401                      Natural Bridge    AL     35577   (205) 486-8878        (256) 962-0675                              $26,592.18
Northern Livestock Video Auction                          2443 N, Frontage Rd.            Billings          MT     59101   (406) 861-5664                         (406) 245-0891            $707,172.47
Northwest Alabama Livestock Auction                       PO Box 459                      Russellville      AL     35653   (256) 332-3323                         (256) 332-6507            $197,667.72
Okeechobee Livestock Market, Inc.                         PO Box 1288                     Okeechobee        FL     34973   (863) 763-3127        (863) 467-0401                              $53,529.42
Ozarks Regional Stockyards, Inc                           PO Box 928                      West Plains       MO     65775   (417) 256-0222        (417) 256-4926                             $259,261.15
Paul George dba CV Farms                                  70 Roberts Rd.                  Watertown         TN     37184   (615) 237-3632        (615) 476-1954                              $12,369.39
Peggy Smith Carey                                         1321 Brown Road                 Park City         KY     42160   (270) 749-2002        (270) 576-7304                               $4,689.15
Peoples Stockyard                                         PO Box 3064                     Cookeville        TN     38502   (931) 526-9736                                                    $19,241.46
Phil Mulder Trucking, Inc.                                PO Box 205 Main St.             Doon              IA     51235   (712) 726-3504        (712) 470-4821 (712) 726-3122                $3,327.00
Philip Whitlow                                            634 Philip Whitlow Rd.          Summer Shade      KY     42166   (270) 432-0073                                                     $3,644.88
Phillip E. Martin                                         6853 Fairview Rd.               Cookeville        TN     38501   (931) 528-1103        (931) 260-5941                              $30,312.72
Phillip Nathan Acree                                      175 Donald Hurt Rd.             Summer Shade      KY     42166   (270) 428-4934        (270) 784-3200                                 $764.79
Phillip L. Richey                                         111 J.W. York Rd.               Scottsville       KY     42164   (270) 622-7785                                                     $4,348.04
Phillip Taylor Reed                                       21 Reed Rd.                     Foraker           OK     74652   (918) 607-9857                                                   $577,742.25
Piedmont Livestock Inc. c/o Joseph R. Jones               PO box 217                      Altamahaw         NC     27202   (336) 584-3676        (336) 260-7575 (336) 584-8398              $365,407.48
Pine Ridge Farm c/o Jimmie Brummett                       7594 Hwy 55 South               Glens Fork        KY     42741   (270) 384-2275        (270) 634-7563                              $11,161.37
Rachel Phelps                                             3079 Lawson Bottom Rd.          Burkesville       KY     42717   (270) 433-5070        (270) 459-0107 (615) 688-2413                  $876.65
Randall Spurling Trucking                                 2120 Spurlington Rd.            Campbellsville    KY     42718   (270) 469-6091                                                     $4,220.65
Randy Carden, Inc.                                        376 Wallis Rd.                  Villa Rica        GA     30180   (770) 832-2532        (770) 301-0339                              $23,036.32
Randy Nelson                                              208 Butler St.                  Columbia          KY     42728   (270) 384-5682        (270) 634-0059                               $5,673.19
Randy Richey                                              500 J.W. York Rd.               Scottsville       KY     42164   (270) 622-6256        (270) 237-0251                               $2,000.00
Randy Roberts                                             5055 W. Swamp Rd.               Winchester        OH     45697   (937) 927-5337                         (937) 927-0092             $13,660.70
RD Lane                                                   370 Maple Grove Lane            Rowletts          KY     42765   (270) 524-2989        (270) 528-1409                               $9,067.10
Richard Banks                                             400 Johnson Cemetary Rd.        Columbia          KY     42728   (270) 384-6695                                                     $3,899.50
Richard Hope                                              3000 Mt. Moriah Rd.             Summer Shade      KY     42166   (270) 428-2551        (270) 427-7675                               $3,543.24
Richard Rivers Trucking                                   11510 Tanner Williams Rd.       Lucedale          MS     39452   (228) 641-3936                         (228) 641-3950              $8,284.00
Richard Ross                                              2463 Dragstrip Rd.              Tompkinsville     KY     42167   (270) 487-8306        (270) 427-7752                               $5,418.18
Richie Melson                                             2628 Melson Ridge Rd.           Columbia          KY     42728   (270) 378-2714                                                     $3,308.19
Rita Cravens                                              1525 Dogwalk Rd.                Alpine            TN     38543   (931) 823-4208                                                     $8,212.58
Roanoke Stockyard, Inc.                                   1009 Chestnut St.; PO Box 307   Roanoke           AL     36274   (334) 863-2441        (334) 863-0833                              $24,514.04
Robert Douglas Alberson                                    Landmark Ln.                   Hillman           TN     38568   (931) 403-3984                                                     $2,351.58
Rodney & Judy Burgess                                     4457 Peters Creek Rd.           Austin            KY     42123   (270) 646-2963                                                     $1,151.64
Rodney Lane Richardson                                    376 South Jackson Hwy.          Hardyville        KY     42746   (270) 528-5533        (270) 528-6312                               $1,127.20
Roger Dale Thomas                                         199 Rhoton Cave Rd.             Tompkinsville     KY     42167   (270) 487-9626                                                     $1,363.64
Roger P. Burris                                           1414 Love Knob Rd.              Knob Lick         KY     42154   (270) 590-6185                                                     $4,483.08
Roger Payne                                               115 Beverly Drive               Glasgow           KY     42141   (270) 651-2550        (270) 646-6596                               $1,300.22
Roger Turner                                              9046 Old Glasgow Rd.            Mt. Hermon        KY     42157   (270) 427-4372                                                     $1,831.30
Rolando Acotsa-Reza                                       PO Box 503                      Alliance          NE     69301   (308) 760-6808        (308) 762-8134 (308) 762-1948               $26,476.73
Ron Herndon dba Pontotoc Stockyard                        PO Box 1026                     Pontotoc          MS     38863   (662) 489-4385        (662) 842-8413                              $63,916.55
Ron Neufeld Trucking                                      5590 NE 157th Terr              Williston         FL     32696   (352) 514-3180        (352) 528-0887 (352) 528-0288                $5,011.00
Ronald Rabich                                             5920 Dry Creek Road             Elk Horn          KY     42733   (606) 787-5551        (606) 706-9441                               $2,848.73
Ronnie Reiter                                             324 Elm Street                  Hereford          TX     79045   (806) 276-5875        (806) 276-5888                              $32,720.32
Roy Anthony Depolitte                                     112 Hull Rd.                    Monroe            TN     38573   (931) 823-6789           9312394419                                $1,859.09
Roy Dee Blythe                                            210 Roy Blythe rd.              Summer Shade      KY     42166   (270) 432-5042        (270) 590-1965                               $2,281.89
Roy Kinslow                                               1844 Dripping Springs           Glasgow           KY     42141   (270) 678-2448                                                     $8,571.48
Roy Pace                                                  720 Judd Road                   Edmonton          KY     42129   (270) 670-5383                                                     $7,413.90
Roy Starnes                                               398 Starnes Rd.                 Mt. Hermon        KY     42157                                                                      $2,429.11
Royal Beef                                                11060 N Falcon Rd               Scott City        KS     67871   (620) 872-5371                         (620) 872-3380              $5,144.40
Russell Bros.                                             4193 Poplar Grove School Rd.    Greensburg        KY     42743   (270) 932-7540        (270) 932-5210                              $15,447.61
Russell Spradin Farm                                      766 Bishop Rd                   Glasgow           KY     42141   (270) 678-3242                                                     $2,316.85
S&S Cattle                                                407 Bakerton Rd.                Burkesville       KY     42717   (270) 433-7646        (270) 459-0387                               $1,183.52
S&T Trucking Logistics                                    PO Box 400; 803 S. Ben St.      Parkston          SD     57366   (605) 928-7770                         (605) 928-7773              $2,985.00
Sandy Froedge                                             201 Tuney Geralds Rd            Edmonton          KY     42129   (270) 646-6566                                                       $358.91
Sandy Glass Trucking                                      90 Circle Rd                    Glasgow           KY     42141   (270) 404-0576        (270) 678-1408                              $12,060.00

                                                                                                                                                                                   Page 6
                                             Case 10-93904-BHL-11                       Doc 1079-1          Filed 03/09/12           EOD 03/09/12 18:08:03       Pg 7 of
                                                                                                                55
                         Claimant                                           Address                    City          State   Zip      Phone #1        Phone #2                  Fax           Amount of Claim
Scott Christopher Cowles                                       2363 Otter Gap Rd.                Bowling Green        KY     42101   (270) 597-3484        (270) 792-6103                                  $4,990.07
Scotts Hill Stockyard c/o James Linville                       PO box 1796                       Savannah             TN     38372   (731) 412-9280                         (731) 925-0269                $32,670.57
Seibert Cattle Co., LLC                                        1136 E. Campbell Ave.             Phoenix              AZ     85014   (602) 230-8387                                                       $48,561.34
Shannon Barnes dba Barnes Trucking                             21936 Lawrence 2222               Aurora               MO     65605   (417) 235-2193        (417) 846-5708                                 $12,114.00
Southeast Livestock Exchange, LLC c/o John Queen               PO Box 1306                       Waynesville          NC     28721   (828) 454-0267        (828) 421-3446                                $774,513.54
Southern Star Stockyard, Inc dba Pulaski Livestock             PO Box 1216                       Pulaski              TN     38478   (256) 710-8424                                                       $54,024.53
Southern Transport LLC c/o Greg Wood                           309 Connie Rd                     Elk City             OK     73644   (405) 208-1747        (580) 210-9442 (580) 243-6569                   $7,173.60
Southland Hauler, LLC                                          PO Box 142                        Brantely             AL     36009   (334) 527-3361        (334) 429-0215 (334) 527-0402                 $176,949.00
Spencer Thompson                                               301 Beauchamp St.                 Edmonton             KY     42129   (270) 670-6517                                                        $1,187.51
Steve A. Garrett dba Garrett Farms                             PO Box 31541                      Amarillo             TX     79120   (806) 622-2031                       (806) 622-8008                  $13,021.50
Steve Callis                                                   1934 Burnt House Rd               Lebanon              TN     37090   (615) 286-2882        (615) 712-1352                                 $13,029.75
Steve Graves Trucking, LLC                                     625 Ferguson Rd.                  Wheatland            WY     82201   (307) 322-3219        (307) 331-0817                                  $5,710.95
Steve Ray Taylor                                               1010 Old Buck CK Rd.              Adolphus             KY     42120   (270) 622-6734              237-0552 (270) 622-6734                   $7,563.15
Steven Terry                                                   PO Box 448                        Red Cloud            NE     68970   (402) 746-3325                       (402) 746-3666                   $1,401.58
Stephen A. Oelze                                               2753 Hwy 2779                     Hardinsburg          KY     40143   (270) 617-1669                                                       $10,526.50
Stitches Farms                                                 PO Box 70                         Gamaliel             KY     42140   (270) 457-2281                       (270) 457-3126                   $6,270.08
Stokes Baird                                                   PO Box 218                        Munfordsville        KY     42765   (270) 361-9123        (270) 524-3881                                  $2,353.08
Sumter Co. Farmers Market, Inc.                                524 N. Market Blvd.               Webster              FL     33597   (352) 793-2021        (352) 303-1851 (352) 793-9474                  $30,775.90
Superior Livestock Auction, Inc.                               PO Box 38                         Brush                CO     80723   (970) 842-5566                       (970) 842-2705              $19,270,617.07
T. Harold Martin                                               6204 Charlestown Pike             Charlestown          IN     47111   (812) 256-2815        (502) 551-3791                                 $15,722.00
Tadlock Stockyard, Inc.                                        PO Box 42                         Forest               MS     39074   (601) 469-1437        (601) 720-3642                                  $6,516.84
Tate Myatt                                                     2163 Poplar Spring Rd.            Glasgow              KY     42141   (270) 427-2163           2706706657 (270) 651-9402                      $469.58
Tate Thoreson dba Thoreson Ranch                               PO Box 334                        El Dorado Springs    MO     64744   (417) 848-0396        (417) 876-7979 (417) 876-6854                  $52,224.08
Tennessee Livestock Producers, Inc. (Columbia)                 PO Box 313                        Columbia             TN     33802   (931) 388-7872                       (931) 840-8689                  $51,664.80
Tennessee Livestock Producers, Inc. (Fayetteville)             PO Box 42                         Fayetteville         TN     37334   (931) 433-5256                       (931) 840-8689                  $23,383.22
Tennessee Livestock Producers, Inc. dba Somerville Livestock
Sales                                                          PO Box 382                        Sommerville          TN     38068   (901) 465-8902                         (931) 840-8689               $87,783.56
Terry H. Phillips, Jr. dba Phillip's Farms                     560 Monterey Hwy.                 Livingston           TN     38570   (931) 260-8736                                                      $15,039.15
Terry Joe Patton                                               1224 New Concord Rd.              Columbia             KY     42728   (270) 384-5690                                                       $3,155.42
Terry L. Williams                                              1525 Mt. Pisgah Rd.               Glasgow              KY     42141   (270) 678-6097        (270) 670-5462                                 $3,044.64
Terry Phillips                                                 560 Monterey Hwy.                 Livingston           TN     38570   (931) 260-8736                                                      $15,039.15
Thomas County Stockyards, Inc                                  PO Box 2565                       Thomasville          GA     31799   (229) 228-6960                         (229) 228-6961               $46,683.35
Thomas J. Logsdon                                              PO Box 235                        Brownsville          KY     42210   (270) 246-1050                                                       $2,174.73
Thomas J. Svoboda                                              3065 AA Ave.                      Herington            KS     67449   (785) 210-5612        (785) 983-4339                               $159,670.28
Thomas Rodgers Glover                                          4400 Temple Rd.                   Pine Bluff           AR     71611   (870) 879-1438        (870) 692-5783                                $62,707.24
Thompson Brothers                                              1448 S. Jackson Hwy.              Hardyville           KY     42746   (270) 218-0490        (270) 528-1261                                 $2,353.08
Tim Vibbert                                                    444 Jack Brown Rd                 Glasgow              KY     42141   (270) 678-6088        (270) 590-1943                                   $799.79
Timothy Blackistone                                            PO Box 286                        Columbia             KY     42728   (270) 634-1664                                                         $299.59
Timothy Clay Slinker                                           1967 Columbia Rd.                 Edmonton             KY     42129   (270) 432-5748        (270) 670-1736                                 $1,405.26
Timothy Watts Napier                                           4519 Peters Creek Rd.             Austin               KY     42123   (270) 646-4519        (270) 622-8649                                 $1,151.64
Todd Lynn                                                      195 Joe Lynn Rd.                  Celing               TN     38551   (931) 243-5425                                                      $10,583.44
Todd Newport                                                   5802 Meshack Rd.                  Tompkinsville        KY     42167   (931) 252-6624                                                       $2,228.30
Torque Transportation                                          10083 Queens Ferry Dr             South Jordan         UT     84095   (801) 870-2822                                                       $4,410.85
Tri-County Livestock Exchange                                  PO Box 122                        Smithfield           KY     40068   (502) 558-2392                                                      $22,928.47
Tupper Livestock Co. c/o Wayne Tupper                          PO Box 20                         Kimball              SD     57355   (605) 778-6211        (605) 680-1000 (605) 778-6209                 $52,732.44
Turner County Stockyard                                        1315 US Hwy 41 S                  Ashburn              GA     31714   (229) 567-3371                       (229) 567-3785                 $95,480.56
Tyler McCombs                                                  133 Scottsborough Circle          Bowling Green        KY     42103   (270) 791-4970                                                       $1,047.66
Union Stock Yards Co., Inc., The                               PO box 129; 7510 State RT 138 E   Hillsboro            OH     45133   (937) 393-1958                         (937) 393-4299               $13,660.70
United Producers, Inc.                                         8351 N. High St. Ste 250          Columbus             OH     43235   (614) 433-2150                         (614) 433-2299              $250,254.00
Valley Stockyard                                               206 Pine Ave. SW                  Decatur              AL     35601   (256) 353-7664                                                      $57,104.36
Veteran Denver Capps                                           330 Frogue Road                   Burkesville          KY     42717   (270) 433-5963                                                         $913.24
Waddie Hills                                                   3377 FM 1226 N.                   Anson                TX     79501   (325) 823-3856        (325) 338-1581                                $98,929.43
Wade Breeding                                                  9440 Columbia Hwy.                Greensburg           KY     42743   (270) 250-4633                                                       $8,482.35
Wayne Tibbits                                                  214 Sandwood Dr.                  Glasgow              KY     42141   (270) 540-2027                                                         $849.43
W.C. Bush                                                      16660 N. 2320 Rd.                 Snyder               OK     73566   (580) 569-2832                                                      $45,135.91
Wendy Cassell Chapman                                          1371 Frisbie Lane                 Cookeville           TN     38501   (931) 526-9739        (931) 644-1149                                 $1,338.24
West Kentucky Livestock Market                                 1781 US Hwy 60 E                  Marion               KY     42064   (270) 853-9806                         (270) 965-5341              $169,463.05
West Plains Co., dba CT Livestock                              4800 Main St. Suite 274           Kansas City          MO     64112   (816) 360-4005                         (816) 360-4080               $54,904.75
Westley Kinslow                                                2371 Dripping Springs Road        Glasgow              KY     42141   (270) 678-2183                                                       $6,264.89
Wetstone Creek                                                 442 Sunfish School Rd.            Brownsville          KY     42210   (270) 230-5456        (270) 286-0008                                $18,492.20
Willard R. Odle                                                491 Goodluck Beaumont Rd.         Edmonton             KY     42129   (270) 428-2070        (270) 590-0855                                 $5,138.48
William A. Milby (Billy)                                       6869 Greensburg Rd.               Buffalo              KY     42716   (270) 218-0552                                                       $9,449.53

                                                                                                                                                                                             Page 7
                                       Case 10-93904-BHL-11           Doc 1079-1          Filed 03/09/12        EOD 03/09/12 18:08:03       Pg 8 of
                                                                                              55
                            Claimant                      Address                     City      State   Zip      Phone #1        Phone #2              Fax        Amount of Claim
William Eugene Dedigo                          8313 Randal Ph-Summer Shade Rd.   Summer Shade    KY     42166   (270) 428-3530        (270) 308-0129                           $2,317.79
William Fred Birdwell                          1543 Tommy Dodson Hwy.            Cookeville      TN     38506   (931) 349-2333                                                 $7,274.03
William McClure                                5199 Smith Grove Rd.              Scottsville     KY     42164   (270) 791-9765        (270) 622-5881                             $667.22
William Rex Elmore                             1817 Tobacco Rd.                  Glasgow         KY     42141   (270) 646-3036                                                $33,653.53
William White                                  99 White Rd.                      Summer Shade    KY     42166   (270) 427-4373                                                 $3,749.00
Winona Stockyard                               PO Box 429                        Winona          MS     38967   (662) 283-1652                                                $18,790.34
Wischmeier Trucking, Inc.                      PO Box 244                        Brownstown      IN     47220   (812) 358-2140        (812) 528-1547                           $6,200.10
                                                                                                                                                         TOTAL            $36,861,095.28




                                                                                                                                                                 Page 8
Case 10-93904-BHL-11   Doc 1079-1   Filed 03/09/12   EOD 03/09/12 18:08:03   Pg 9 of
                                        55




                         Exhibit B




                                                                             Page 9
                               Case 10-93904-BHL-11                               Doc 1079-1              Filed 03/09/12         EOD 03/09/12 18:08:03                 Pg 10 of
                                                                                                              55




        Clearees of Eastern Livestock Co., LLC
        135 West Market Street
        New Albany, IN 47150

                         Name                                Address                                                  Phone Number                    contact Person         SSNIFEIN
         Frantz Betschart               Route 1, Box 306 Ashland, KS 67831                                             620 635-2606                Frantz Betschart         XXX-XX-XXXX
         Ken Betschart                  3115 Monte Vista, Torrington WY 82240                                          307 532-8456                Ken Betschart            XXX-XX-XXXX
         84 Cattle Co. Inc.             P.O. Box.1610 Chilhowie, VA 24319                                              276 496-3371                Bert Smith IV            XX-XXXXXXX
         John Cathey                    3708 N. BobOlink, Ozark, MO 65721                                             (417 255-9203                John Cathey              XXX-XX-XXXX
       . E4 Cattle Co., LLC             P.O. Box 570, Okolona, MS 38860                                                662 447-5474                James Ed Edens 1V        XX-XXXXXXX
         Vernon Inman                   Route 2, Box 121, Culleoka~_ TN 38451                                          931 987-2517                Vernon Inman             XXX-XX-XXXX
         Lemaster Livestock, LLC        1831 Boiling Springs Highway, Gaffney, SC 29341                                864 489-0412                Chuck LeMaster           XX-XXXXXXX

                                                                                                                                                                                                    () '\~:; \\ o4
         Oaklake Cattle Co. L Inc.      P.O. Box 1284, Okeechobee FL 34973                                             800 258-0578                Jim B~d                  XX-XXXXXXX
        ·rot   n-u.. ~                  i~ ..... '"'"' A   D ......., -tt:!.I:D   ~. ·-·   !II   VC'   £:!7~~7         '~'"U\'   ~1:"'   ~~::-ta   1~ ..... Deffn?'l        ~:;no._':lR Q''H~


        Kenny Plowman                   1010 Tattle Branch Road, Chilhowiee, VA 24319 ·                                276 646-5247                Kenny Plowman            319-40--3831
        Jimmy Rhoderick                 115 E. First Street Hereford, TX 79045                                         806 364-3311 .              Jimmy Rhoderick          XXX-XX-XXXX
        Neal Smith                      807 South Avenue, N. Clifton TX 76634                                          254 675-2275                Neal Smith               XXX-XX-XXXX
        stonnie SulliVan                P.O. Boxl~16, Edmonton, KY 42129                                               270 432-5426                Stoney Sullivan          XXX-XX-XXXX
        Jerry Wolfe                     905 Newbelly Road Richardson, TX 75080                                         972) 235-7377               Jerry Wolfe              XXX-XX-XXXX -~
1,.·




                                                                                                                                                        1:v     rs eo




                                                                                                                                                                                                Page 10
                                Case 10-93904-BHL-11      Doc 1079-1        Filed 03/09/12    EOD 03/09/12 18:08:03              Pg 11 of
                                                                                55
                                                                                                                                                              a..
                                                                                                                                                                   .
          Cleareee of Eastem Uvestock Co .• LLC                                                        15-Apr-D2
11..
       -. 135 West Market Street
          New Albany. IN 47150

                          Name                                  Addreu                        Pbone Number           Contact Person            SSNIFEIN
         Frantz .Betsctlart                 Route 1, Box 306, AshlanJt KS 87831                620 635-2606        Frantz Betschart           5()9.42..7671
         Ken Betschart                      3115 Monte VIsta. To       wv    82240               307 532-8458      Ken Betschart              512..S4.S536
         84 Cattle Company                  P.O. Box 1610. Chilhowle. VA 24319                   276 496-3371      Belt Smith IV              XX-XXXXXXX
         John cathey                        :3708 N. Bobolink.~ MO 65721                         417 255-9203      John Cathey              - XXX-XX-XXXX
          E4 Cattle Co., LLC                P.O. Bax570~ Okcllona MS 38880                       662 447..5474     James Ed Edens IV          84-oe.16813
          Vernon Inman                      Route 2. Box 121. Cul1eoka. TN 38451                 931 967-2517      Vernon Inman              XXX-XX-XXXX
          Lemaster Llvestadc.               1831Boiling ~· ·  . I
                                                                          GaffneY~ SC ~1         864 489-0412      Chuck leMaater             XX-XXXXXXX
          Oaktake Cattle Co.                P.O. Box 12&4, Okeechobee~ A- 34973                  800 ~78           fJimByrd                   6~295258
          Ron Patton                        Route 4. Box 1658. Coffeyville. KS 67337             620 251-3618       Ron Patton               509..36-8316
          Kenny Pklwman                     1010 Tattle Branch Road, ChHhowiee VA 24319      --- 276 ~41 ...       t<. cmw_Plowman           319-tQ-3831
          JimmJ Rhoderick                   115 E. Firat Street Hereford. TX 79045                806 364-3311     ~lmmy-RhodMick            468-62·5588
          NeatSmlth                         BQ7 South Avenue, N. Cifton. TX 76634                 25-4 67&-2275    Neal Smith                XXX-XX-XXXX
          stonnte SulliVan                  P.O. Box 1118. EdmOnton KY 42129                     [270' 432-5426    stoney SUIII\Ian           415-29-e040
          Jerry Wolf&                       905 Newberry Road, RtebardeOn 1X 75080                972 235-73n      JerrvWolfe                 XXX-XX-XXXX




                                Attached to and made part of bond No. 785636 effective April 26,2002
             a                                                                                                                                                i_




                                                                            Richard o. Thompson, Attorney in Fact
                                                                             Capitol Indemnity Corporation




                                                                                                                                                   Page 11
Case 10-93904-BHL-11   Doc 1079-1   Filed 03/09/12   EOD 03/09/12 18:08:03   Pg 12 of
                                        55




                         Exhibit C




                                                                             Page 12
Case 10-93904-BHL-11   Doc 1079-1   Filed 03/09/12   EOD 03/09/12 18:08:03    Pg 13 of
                                        55




                                                                             Page 13
Case 10-93904-BHL-11   Doc 1079-1   Filed 03/09/12   EOD 03/09/12 18:08:03    Pg 14 of
                                        55




                                                                             Page 14
Case 10-93904-BHL-11   Doc 1079-1   Filed 03/09/12   EOD 03/09/12 18:08:03    Pg 15 of
                                        55




                                                                             Page 15
Case 10-93904-BHL-11   Doc 1079-1   Filed 03/09/12   EOD 03/09/12 18:08:03    Pg 16 of
                                        55




                                                                             Page 16
Case 10-93904-BHL-11   Doc 1079-1   Filed 03/09/12   EOD 03/09/12 18:08:03   Pg 17 of
                                        55




                         Exhibit D




                                                                             Page 17
Case 10-93904-BHL-11   Doc 1079-1   Filed 03/09/12   EOD 03/09/12 18:08:03    Pg 18 of
                                        55




                                                                             Page 18
Case 10-93904-BHL-11   Doc 1079-1   Filed 03/09/12   EOD 03/09/12 18:08:03    Pg 19 of
                                        55




                                                                             Page 19
Case 10-93904-BHL-11   Doc 1079-1   Filed 03/09/12   EOD 03/09/12 18:08:03    Pg 20 of
                                        55




                                                                             Page 20
Case 10-93904-BHL-11   Doc 1079-1   Filed 03/09/12   EOD 03/09/12 18:08:03    Pg 21 of
                                        55




                                                                             Page 21
Case 10-93904-BHL-11   Doc 1079-1   Filed 03/09/12   EOD 03/09/12 18:08:03   Pg 22 of
                                        55




                          Exhibit E




                                                                             Page 22
Case 10-93904-BHL-11   Doc 1079-1   Filed 03/09/12   EOD 03/09/12 18:08:03    Pg 23 of
                                        55




                                                                             Page 23
Case 10-93904-BHL-11   Doc 1079-1   Filed 03/09/12   EOD 03/09/12 18:08:03     Pg 24 of
                                        55




                                                                             Page 24
Case 10-93904-BHL-11   Doc 1079-1   Filed 03/09/12   EOD 03/09/12 18:08:03    Pg 25 of
                                        55




                                                                             Page 25
Case 10-93904-BHL-11   Doc 1079-1   Filed 03/09/12   EOD 03/09/12 18:08:03     Pg 26 of
                                        55




                                                                             Page 26
Case 10-93904-BHL-11   Doc 1079-1   Filed 03/09/12   EOD 03/09/12 18:08:03    Pg 27 of
                                        55




                                                                             Page 27
Case 10-93904-BHL-11   Doc 1079-1   Filed 03/09/12   EOD 03/09/12 18:08:03    Pg 28 of
                                        55




                                                                             Page 28
Case 10-93904-BHL-11   Doc 1079-1   Filed 03/09/12   EOD 03/09/12 18:08:03   Pg 29 of
                                        55




                          Exhibit F




                                                                             Page 29
Case 10-93904-BHL-11   Doc 1079-1   Filed 03/09/12   EOD 03/09/12 18:08:03     Pg 30 of
                                        55




                                                                             Page 30
Case 10-93904-BHL-11   Doc 1079-1   Filed 03/09/12   EOD 03/09/12 18:08:03     Pg 31 of
                                        55




                                                                             Page 31
Case 10-93904-BHL-11   Doc 1079-1   Filed 03/09/12   EOD 03/09/12 18:08:03     Pg 32 of
                                        55




                                                                             Page 32
Case 10-93904-BHL-11   Doc 1079-1   Filed 03/09/12   EOD 03/09/12 18:08:03     Pg 33 of
                                        55




                                                                             Page 33
Case 10-93904-BHL-11   Doc 1079-1   Filed 03/09/12   EOD 03/09/12 18:08:03     Pg 34 of
                                        55




                                                                             Page 34
Case 10-93904-BHL-11   Doc 1079-1   Filed 03/09/12   EOD 03/09/12 18:08:03     Pg 35 of
                                        55




                                                                             Page 35
Case 10-93904-BHL-11   Doc 1079-1   Filed 03/09/12   EOD 03/09/12 18:08:03     Pg 36 of
                                        55




                                                                             Page 36
Case 10-93904-BHL-11   Doc 1079-1   Filed 03/09/12   EOD 03/09/12 18:08:03   Pg 37 of
                                        55




                          Exhibit A




                                                                             Page 37
Case 10-93904-BHL-11   Doc 1079-1   Filed 03/09/12   EOD 03/09/12 18:08:03     Pg 38 of
                                        55




                                                                             Page 38
Case 10-93904-BHL-11     Doc 1079-1     Filed 03/09/12   EOD 03/09/12 18:08:03    Pg 39 of
                                            55


 OAK LAKE CATTLE COMPANY, INC.
 PO BOX 1284
 OKEECHOBEE, FL. 34973‐1284


 METHOD OF DOING BUSINESS WITH EASTERN LIVESTOCK COMPANY, LLC.:

    1. EASTERN ACTED AS A CLEARING AGENT ONLY FOR OAK LAKE CATTLE CO.(OLC # 22)

    2. THE PROCESS GOES AS FOLLOWS:
       A) OLC # 22 GOT ORDERS FOR CATTLE SOLD TO ITS CUSTOMERS
       B) OLC IN TURN BOUGHT CATTLE AT FLORIDA LIVESTOCK MARKETS

    3. I WOULD FAX MARKET BILLS TO EASTERN FOR PAYMENT FOR EACH DAYS BUSINESS
       EASTERN ALWAYS PAID IN COMPLIANCE WITH P&S REGULATIONS.

    4. EXPENSES FOR TRUCKING,VETERNARY SERVICES,FEED,AND BUYER COMISSION INCLUDED ON
       PURCHASE ORDER (FORM) PROVIDED FROM EASTERN.

    5. ON COMPLETION OF ORDER OLC#22 WOULD BILL CATTLE TO CUSTOMER
       THIS BILL WOULD INCLUDE TRUCKING, VETERNARY EXPENSE, FEED, CLEARING TO EASTERN AND
       WE WOULD MARK UP (PROFIT) FOR OAK LAKE CATTLE CO.

    6. I THEN BILLED THE CUSTOMER ON EASTERN INVOICES(PROVIDED BY EASTERN)
       I SOLD & BILLED ALL THE CATTLE OUT OF MY BRANCH (OLC#22)

    7. THE CUSTOMER GOT THEIR INVOICE FROM OLC#22 BY FAX OR MAIL

    8. THE CUSTOMER IN TURN MAILED, FEDX, UPS,OR WIRED FUNDS TO EASTERN

    9. EASTERN CHARGED .50 CENTS / CWT FOR CLEARING

   10. EASTERN IN TURN PAID EACH EXPENSE ITEM (TRUCKING, FEED, VET., YARDAGE & MARK UP
       THESE WERE MAILED TO EACH VENDER AS LISTED ON WORK SHEET (EASTERN FORM PROVIDED)

   11. I WAS RESPONSIBLE FOR COLLECTING ALL OUT STANDING MONEYS NOT COLLECTED ON MY
       ACCOUNTS. I RECEIVED AN ACCOUNTS RECIEVABLE DAILY OR ON A REGULAR BASIS FOR
       OLC#22.




                                                                                  Page 39
Case 10-93904-BHL-11   Doc 1079-1   Filed 03/09/12   EOD 03/09/12 18:08:03   Pg 40 of
                                        55




                          Exhibit B




                                                                             Page 40
Case 10-93904-BHL-11   Doc 1079-1   Filed 03/09/12   EOD 03/09/12 18:08:03    Pg 41 of
                                        55




                                            Exhibit B
                                                                             Page 41
Case 10-93904-BHL-11   Doc 1079-1   Filed 03/09/12   EOD 03/09/12 18:08:03     Pg 42 of
                                        55




                                                                             Page 42
Case 10-93904-BHL-11   Doc 1079-1   Filed 03/09/12   EOD 03/09/12 18:08:03    Pg 43 of
                                        55




                                                                             Page 43
Case 10-93904-BHL-11   Doc 1079-1   Filed 03/09/12   EOD 03/09/12 18:08:03   Pg 44 of
                                        55




                          Exhibit C




                                                                             Page 44
                  Case 10-93904-BHL-11            Doc 1079-1         Filed 03/09/12     EOD 03/09/12 18:08:03                 Pg 45 of
                                                                         55




PAYABLES DUE FLORIDA MARKETS FROM RUSH CREEK/EASTERN                                                     BY: Florida Livestock Market Agency
                                          BUY                        HEAD    TOTAL          TOTAL                                                          TOTAL
       MARKET            CUSTOMER        NUMBER             DATE     COUNT   WEIGHT         CATTLE           COMM.         FEED          TRUCK           INVOICED

       Invoice Number 291244
ARCADIA STOCKYARD      RUSH CREEK          10           10/11/2010     9         1750   $     2,211.88   $     17.50   $       -                     $      2,229.38
ARCADIA STOCKYARD      RUSH CREEK         10X           10/11/2010    10         1970   $     2,508.38   $     19.70   $       -                     $      2,528.08
ARCADIA STOCKYARD      RUSH CREEK          10           10/13/2010    19         3645   $     5,327.21   $     36.45   $      5.00                   $      5,368.66
ARCADIA STOCKYARD      RUSH CREEK         10X           10/13/2010    14         2760   $     3,011.40   $     27.60   $      5.00                   $      3,044.00
CATTLEMENS L/S MKT     RUSH CREEK          10           10/12/2010     7         1355   $     1,895.13   $     13.55                                 $      1,908.68
CATTLEMENS L/S MKT     RUSH CREEK         10X           10/12/2010     7         1405   $     1,632.70   $     14.05                                 $      1,646.75
COLUMBIA L/S MKT       RUSH CREEK          10           10/11/2010      5         865   $       919.63   $     17.30                                 $        936.93
COLUMBIA L/S MKT       RUSH CREEK         10X           10/11/2010      7        1195   $     1,129.88   $     23.90                                 $      1,153.78
HARDEE L/S MKT         RUSH CREEK          10           10/11/2010      4         760   $     1,058.25   $      7.60   $      4.30                   $      1,070.15
HARDEE L/S MKT         RUSH CREEK         10X           10/11/2010     9         1685   $     1,841.00   $     16.85   $      9.70                   $      1,867.55
NORTH FLA L/S MKT      RUSH CREEK          10           10/13/2010    10         1835   $     2,506.13   $     18.35                 $       18.35   $      2,542.83
NORTH FLA L/S MKT      RUSH CREEK         10X           10/13/2010      6        1095   $     1,142.70   $     10.95                 $       10.95   $      1,164.60
OCALA L/S MKT          RUSH CREEK          10           10/11/2010     11        1980   $     3,182.75   $     19.80                 $       19.80   $      3,222.35
OCALA L/S MKT          RUSH CREEK         10X           10/11/2010      7        1200   $     1,579.25   $     12.00                 $       12.00   $      1,603.25
OKEECHOBEE L/S MKT     RUSH CREEK          10           10/11/2010      2         320   $       404.70                                               $        404.70
OKEECHOBEE L/S MKT     RUSH CREEK         10X           10/11/2010      3         545   $       531.85                                               $        531.85
OKEECHOBEE L/S MKT     RUSH CREEK          10           10/12/2010     10        1900   $     2,699.50                                               $      2,699.50
OKEECHOBEE L/S MKT     RUSH CREEK         10X           10/12/2010     10        1965   $     2,221.78                                               $      2,221.78
TOWNSEND L/S MKT       RUSH CREEK          10           10/12/2010      1         175   $       231.00   $      3.30                                 $        234.30
SUMTER CO FARMS MK     RUSH CREEK          10           10/12/2010     4          665   $       760.70   $      6.65                                 $        767.35
SUMTER CO FARMS MK     RUSH CREEK         10X           10/12/2010    10         1965   $     2,635.10   $     19.65                                 $      2,654.75
                     VERIFIED TOTALS              21 Transactions     165       31035   $    39,430.92   $    285.20   $     24.00   $       61.10   $     39,801.22

Other Expenses
RON SIZEMORE            TRUCKING                                                                                                                     $        313.57
PACO ANUEZ              TRUCKING                                                                                                                     $         26.59
EASTERN                 CLEARING                                                                                       @ $.50 per 100 lbs.           $        155.18
OAK LAKE CATTLE         P&L                                                                                                                          $        912.20
                  Total Other Expenses                                                                                                               $      1,407.54

VERIFIED TOTALS INTERPLEADER - Invoice 291244                                                                                                        $ 41,208.76




                                                                                                                                                          Page 45
                  Case 10-93904-BHL-11            Doc 1079-1         Filed 03/09/12    EOD 03/09/12 18:08:03                 Pg 46 of
                                                                         55




PAYABLES DUE FLORIDA MARKETS FROM RUSH CREEK/EASTERN                                                    BY: Florida Livestock Market Agency
                                          BUY                        HEAD    TOTAL         TOTAL                                                          TOTAL
       MARKET            CUSTOMER        NUMBER             DATE     COUNT   WEIGHT        CATTLE           COMM.         FEED          TRUCK           INVOICED

       Invoice Number 291246
ARCADIA STOCKYARD      RUSH CREEK          10           10/18/2010     4         795   $     1,100.13   $      7.95                                 $      1,108.08
ARCADIA STOCKYARD      RUSH CREEK         10X           10/18/2010     3         635   $       775.38   $      6.35                                 $        781.73
COLUMBIA L/S MKT       RUSH CREEK          10           10/18/2010     0           0   $          -     $       -                                   $           -
COLUMBIA L/S MKT       RUSH CREEK         10X           10/18/2010     1         145   $       166.75   $      2.90                                 $        169.65
HARDEE L/S MKT         RUSH CREEK          10           10/19/2010     2         410   $       545.22                                               $        545.22
HARDEE L/S MKT         RUSH CREEK         10X           10/19/2010     4         835   $       978.73                                               $        978.73
OCALA L/S MKT          RUSH CREEK          10           10/18/2010     5         890   $     1,160.45   $      8.90                 $        8.90   $      1,178.25
OCALA L/S MKT          RUSH CREEK         10X           10/18/2010     5         920   $     1,110.75   $      9.20                 $        9.20   $      1,129.15
OKEECHOBEE L/S MKT     RUSH CREEK          10           10/18/2010     8        1620   $     2,333.58                                               $      2,333.58
OKEECHOBEE L/S MKT     RUSH CREEK         10X           10/18/2010     5         950   $     1,074.13                                               $      1,074.13
OKEECHOBEE L/S MKT     RUSH CREEK          10           10/19/2010     2         405   $       520.80                                               $        520.80
OKEECHOBEE L/S MKT     RUSH CREEK         10X           10/19/2010     8        1525   $     1,790.75                                               $      1,790.75
SUMTER CO FARMS MK     RUSH CREEK          10           10/19/2010     4         745   $     1,053.10   $      7.45                                 $      1,060.55
SUMTER CO FARMS MK     RUSH CREEK         10X           10/19/2010     4         700   $       731.50   $      7.00                                 $        738.50
TOWNSEND L.S MKT       RUSH CREEK          10           10/19/2010     2         390   $       586.00   $      3.90                 $        3.90   $        593.80
TOWNSEND L.S MKT       RUSH CREEK         10X           10/19/2010     3         565   $       829.75   $      5.65                 $        5.65   $        841.05
CATTLEMENS L/S MKT     RUSH CREEK          10           10/19/2010    20        3875   $     5,531.11   $     38.75   $       -     $         -     $      5,569.86
CATTLEMENS L/S MKT     RUSH CREEK         10X           10/19/2010    12        2280   $     2,904.75   $     22.80   $       -     $         -     $      2,927.55
ARCADIA STOCKYARD      RUSH CREEK          10           10/20/2010    16        3305   $     5,138.26   $     33.05   $      5.00   $         -     $      5,176.31
ARCADIA STOCKYARD      RUSH CREEK         10X           10/20/2010    17        3240   $     3,919.23   $     32.40   $      5.00   $         -     $      3,956.63
NORTH FLA L/S MKT      RUSH CREEK          10           10/20/2010     2         375   $       527.60   $      3.75   $       -     $        3.75   $        535.10
NORTH FLA L/S MKT      RUSH CREEK         10X           10/20/2010     5         890   $     1,138.85   $      8.90   $       -     $        8.90   $      1,156.65
                     VERIFIED TOTALS              22 Transactions     132      25495   $    33,916.82   $    198.95   $     10.00   $       40.30   $     34,166.07

Other Expenses
RON SIZEMORE            TRUCKING                                                                                                                    $       285.88
EASTERN                 CLEARING                                                                                      @ $.50 per 100 lbs.           $       127.46
OAK LAKE CATTLE         P&L                                                                                                                         $       148.45
                  Total Other Expenses                                                                                                              $       561.79

VERIFIED TOTALS INTERPLEADER - Invoice 291246                                                                                                       $ 34,727.86




                                                                                                                                                         Page 46
                  Case 10-93904-BHL-11            Doc 1079-1         Filed 03/09/12    EOD 03/09/12 18:08:03                 Pg 47 of
                                                                         55




PAYABLES DUE FLORIDA MARKETS FROM RUSH CREEK/EASTERN                                                    BY: Florida Livestock Market Agency
                                          BUY                        HEAD    TOTAL         TOTAL                                                          TOTAL
       MARKET            CUSTOMER        NUMBER             DATE     COUNT   WEIGHT        CATTLE           COMM.         FEED          TRUCK           INVOICED

       Invoice Number 291251
HARDEE L/S MKT         RUSH CREEK          10           10/25/2010     8        1505   $     1,929.75   $     15.05   $       -     $         -     $      1,944.80
HARDEE L/S MKT         RUSH CREEK         10X           10/25/2010     9        1825   $     1,933.75   $     18.25   $       -     $         -     $      1,952.00
ARCADIA L/S MKT        RUSH CREEK          10           10/25/2010    12        2295   $     3,598.66   $     22.95   $       -     $         -     $      3,621.61
ARCADIA L/S MKT        RUSH CREEK         10X           10/25/2010    10        1935   $     2,408.38   $     19.35   $       -     $         -     $      2,427.73
OCALA L/S MKT          RUSH CREEK          10           10/25/2010      9       1730   $     2,789.05   $     17.30   $     17.30   $         -     $      2,823.65
OCALA L/S MKT          RUSH CREEK         10X           10/25/2010      8       1550   $     1,858.50   $     15.50   $     15.50   $         -     $      1,889.50
COLUMBIA L/S MKT       RUSH CREEK          10           10/25/2010    10        1815   $     2,484.63   $     18.15   $       -     $       18.15   $      2,520.93
COLUMBIA L/S MKT       RUSH CREEK         10X           10/25/2010      9       1610   $     1,981.38   $     16.10   $       -     $       16.10   $      2,013.58
OKEECHOBEE L/S MKT     RUSH CREEK          10           10/25/2010      1        190   $       353.40   $       -     $       -     $         -     $        353.40
OKEECHOBEE L/S MKT     RUSH CREEK         10X           10/25/2010     13       2575   $     2,998.52   $       -     $       -     $         -     $      2,998.52
CATTLEMENS L/S MKT     RUSH CREEK          10           10/26/2010     10       1945   $     2,911.03   $     19.45   $       -     $         -     $      2,930.48
CATTLEMENS L/S MKT     RUSH CREEK         10X           10/26/2010      6       1160   $     1,450.70   $     11.60   $       -     $         -     $      1,462.30
SUMTER CO FARMS MK     RUSH CREEK          10           10/26/2010      2        395   $       614.00   $      3.95   $       -     $         -     $        617.95
SUMTER CO FARMS MK     RUSH CREEK         10X           10/26/2010      9       1685   $     2,141.50   $     16.85   $       -     $         -     $      2,158.35
TOWNSEND L/S MKT       RUSH CREEK          10           10/26/2010      5        920   $     1,214.00   $      9.20   $       -     $        9.20   $      1,232.40
TOWNSEND L/S MKT       RUSH CREEK         10X           10/26/2010      6       1115   $     1,230.50   $     11.15   $       -     $       11.15   $      1,252.80
OKEECHOBEE L/S MKT     RUSH CREEK          10           10/26/2010      3        570   $     1,028.70   $       -     $       -     $         -     $      1,028.70
OKEECHOBEE L/S MKT     RUSH CREEK         10X           10/26/2010     6        1155   $     1,534.18   $       -     $       -     $         -     $      1,534.18
ARCADIA STOCKYARD      RUSH CREEK          10           10/27/2010    38        7025   $    10,460.09   $     70.25   $      2.50   $         -     $     10,532.84
ARCADIA STOCKYARD      RUSH CREEK         10X           10/27/2010    22        4070   $     4,873.10   $     40.70   $      2.50   $         -     $      4,916.30
NORTH FLA L/S MKT      RUSH CREEK          10           10/27/2010     2         410   $       594.50   $      4.10   $       -     $        4.10   $        602.70
                     VERIFIED TOTALS              21 Transactions     198      37480   $    50,388.32   $    329.90   $     37.80   $       58.70   $     50,814.72

Other Expenses
RON SIZEMORE            TRUCKING                                                                                                                    $        424.95
EASTERN                 CLEARING                                                                                      @ $.50 per 100 lbs.           $        187.40
OAK LAKE CATTLE         P&L                                                                                                                         $        460.69
                  Total Other Expenses                                                                                                              $      1,073.04

VERIFIED TOTALS INTERPLEADER - Invoice 291251                                                                                                       $ 51,887.76




                                                                                                                                                         Page 47
                  Case 10-93904-BHL-11            Doc 1079-1         Filed 03/09/12    EOD 03/09/12 18:08:03                 Pg 48 of
                                                                         55




PAYABLES DUE FLORIDA MARKETS FROM RUSH CREEK/EASTERN                                                    BY: Florida Livestock Market Agency
                                          BUY                        HEAD    TOTAL         TOTAL                                                          TOTAL
       MARKET            CUSTOMER        NUMBER             DATE     COUNT   WEIGHT        CATTLE           COMM.         FEED          TRUCK           INVOICED

       Invoice Number 291253
HARDEE L/S MKT         RUSH CREEK          10            11/1/2010    14        2780   $     3,716.00   $     27.80   $     13.58   $        5.04   $      3,762.42
HARDEE L/S MKT         RUSH CREEK         10X            11/1/2010    25        5185   $     5,510.75   $     51.85   $     23.92   $        8.96   $      5,595.48
ARCADIA STOCKYARD      RUSH CREEK          10            11/1/2010    10        1975   $     2,899.67   $     19.75   $       -     $         -     $      2,919.42
ARCADIA STOCKYARD      RUSH CREEK         10X            11/1/2010     9        1815   $     2,134.96   $     18.15   $       -     $         -     $      2,153.11
OCALA L/S MKT          RUSH CREEK          10            11/1/2010     6        1285   $     1,656.10   $     12.85   $       -     $       12.85   $      1,681.80
OCALA L/S MKT          RUSH CREEK         10X            11/1/2010      3        630   $       730.80   $      6.30   $       -     $        6.30   $        743.40
COLUMBIA L/S MKT       RUSH CREEK          10            11/1/2010      2        305   $       312.63   $      3.05   $       -     $        3.05   $        318.73
COLUMBIA L/S MKT       RUSH CREEK         10X            11/1/2010      2        370   $       405.13   $      3.70   $       -     $        3.70   $        412.53
OKEECHOBEE L/S MKT     RUSH CREEK          10            11/1/2010      1        200   $       242.00   $       -     $       -     $         -     $        242.00
OKEECHOBEE L/S MKT     RUSH CREEK         10X            11/1/2010      4        760   $       560.10   $       -     $       -     $         -     $        560.10
CATTLEMENS L/S MKT     RUSH CREEK          10            11/2/2010     21       4070   $     5,633.16   $     40.70   $       -     $         -     $      5,673.86
CATTLEMENS L/S MKT     RUSH CREEK         10X            11/2/2010     18       3730   $     4,453.93   $     37.30   $       -     $         -     $      4,491.23
SUMTER CO FARMS MK     RUSH CREEK          10            11/2/2010      7       1480   $     2,179.30   $     14.80   $       -     $         -     $      2,194.10
SUMTER CO FARMS MK     RUSH CREEK         10X            11/2/2010     16       3320   $     3,661.30   $     33.20   $       -     $         -     $      3,694.50
OKEECHOBEE L/S MKT     RUSH CREEK          10            11/2/2010      3        620   $     1,012.70   $       -     $       -     $         -     $      1,012.70
OKEECHOBEE L/S MKT     RUSH CREEK         10X            11/2/2010      5        950   $     1,151.00   $       -     $       -     $         -     $      1,151.00
NORTH FL L/S MKT       RUSH CREEK          10            11/3/2010      4        810   $     1,159.90   $      8.10   $       -     $        8.10   $      1,176.10
NORTH FL L/S MKT       RUSH CREEK         10X            11/3/2010     5        1045   $     1,268.25   $     10.45   $       -     $       10.45   $      1,289.15
ARCADIA STOCKYARD      RUSH CREEK          10            11/3/2010    17        3190   $     4,800.01   $     31.90   $       -     $         -     $      4,831.91
ARCADIA STOCKYARD      RUSH CREEK         10X            11/3/2010    24        4765   $     5,344.78   $     47.65   $       -     $         -     $      5,392.43
                     VERIFIED TOTALS              20 Transactions     196      39285   $    48,832.47   $    367.55   $     37.50   $       58.45   $     49,295.97

Other Expenses
RON SIZEMORE            TRUCKING                                                                                                                    $        398.29
D & R TRUCKING          TRUCKING                                                                                                                    $        139.04
EASTERN                 CLEARING                                                                                      @ $.50 per 100 lbs.           $        196.43
OAK LAKE CATTLE         P&L                                                                                                                         $        379.18
                  Total Other Expenses                                                                                                              $      1,112.94
VERIFIED TOTALS INTERPLEADER - Invoice 291253                                                                                                       $    50,408.91




                                                                                                                                                         Page 48
                    Case 10-93904-BHL-11               Doc 1079-1          Filed 03/09/12          EOD 03/09/12 18:08:03                   Pg 49 of
                                                                               55




                                                                RUSH CREEK INVOICE SUMMARY
            Total Transactions 84
                    Total Head 691                         #291244                            #291246                   #291251           #291253               TOTAL
Florida Market Total Due By Invoice              Florida Mkts    Eastern Paid       Florida Mkts    Eastern Paid      Florida Mkts      Florida Mkts          INVOICES
ARCADIA STOCKYARD              RUSH CREEK       $     13,170.12 $   (13,170.12)    $     11,022.75 $    (1,889.81)   $     21,498.48   $     15,296.87    $      45,928.29
CATTLEMENS L/S MKT             RUSH CREEK       $      3,555.43 $    (3,555.43)    $      8,497.41 $          -      $      4,392.78   $     10,165.09    $      23,055.28
COLUMBIA L/S MKT               RUSH CREEK       $      2,090.71 $    (2,090.71)    $        169.65 $      (169.65)   $      4,534.51   $        731.26    $       5,265.77
HARDEE L/S MKT                 RUSH CREEK       $      2,937.70 $    (2,937.70)    $      1,523.95 $    (1,523.95)   $      3,896.80   $      9,357.90    $      13,254.70
NORTH FLA L/S MKT              RUSH CREEK       $      3,707.43 $    (3,707.43)    $      1,691.75 $          -      $        602.70   $      2,465.25    $       4,759.70
OCALA L/S MKT                  RUSH CREEK       $      4,825.60 $    (4,825.60)    $      2,307.40 $    (2,307.40)   $      4,713.15   $      2,425.20    $       7,138.35
OKEECHOBEE L/S MKT             RUSH CREEK       $      5,857.83 $    (5,857.83)    $      5,719.26 $    (5,719.26)   $      5,914.80   $      2,965.80    $       8,880.60
SUMTER CO FARMS MK             RUSH CREEK       $      3,422.10 $    (3,422.10)    $      1,799.05 $    (1,799.05)   $      2,776.30   $      5,888.60    $       8,664.90
TOWNSEND L/S MKT               RUSH CREEK       $        234.30 $      (234.30)    $      1,434.85 $    (1,434.85)   $      2,485.20   $           -      $       2,485.20
Due Florida Markets - Rush Creek                $ 39,801.22 $ (39,801.22)          $ 34,166.07 $ (14,843.97)         $ 50,814.72       $ 49,295.97        $    119,432.79
Less: Amounts Paid By Eastern                   $ (39,801.22)                      $ (14,843.97)                     $          -      $          -

TOTAL DUE FLORIDA MARKETS
FROM RUSH CREEK INTERPLEADER                    $        -                         $ 19,322.10                       $ 50,814.72        $ 49,295.97       $ 119,432.79

Other Expenses
D & R TRUCKING                                 $          -                        $         -                       $           -     $        139.04    $          139.04
RON SIZEMORE                                   $       313.57                      $      285.88                     $        424.95   $        398.29    $        1,422.69
PACO ANUEZ                                     $        26.59                      $         -                       $           -     $           -      $           26.59
OAK LAKE CATTLE                                $       912.20                      $      148.45                     $        460.69   $        379.18    $        1,900.52
EASTERN LIVESTOCK             Clearing Commis. $       155.18                      $      127.46                     $        187.40   $        196.43    $          666.47
TOTAL OTHER EXPENSES                            $ 1,407.54                         $     561.79                      $ 1,073.04         $ 1,112.94        $        4,155.31

EASTERN LIVESTOCK             Livestock Pmts.   $ 39,801.22                        $ 14,843.97                       $           -     $            -     $    54,645.19

Interpled By Rush Creek By INVOICE              $ 41,208.76                        $ 34,727.86                       $ 51,887.76        $ 50,408.91       $ 178,233.29



                          (1) Total Due Eastern                 Clearing Commissions               $       666.47 @ $.50 per 100 lbs. for total lbs. of   133295
                                                                Paid Out For Livestock             $    54,645.19
                                                                TOTAL AMOUNT DUE
                                                                EASTERN ON RUSH CREEK              $ 55,311.66




                                                                                                                                                                   Page 49
               Case 10-93904-BHL-11        Doc 1079-1             Filed 03/09/12       EOD 03/09/12 18:08:03           Pg 50 of
                                                                      55




                                                     RUSH CREEK INVOICE SUMMARY

                                              #291244                    #291246             #291251      #291253        TOTAL           TOTAL
                                               No. Head                   No. Head           No. Head     No. Head      NO. HEAD        NO. HEAD
Florida Market Total Due By Invoice       Fla. Mkts.   Eastern       Fla. Mkts.   Eastern    Fla. Mkts.   Fla. Mkts.   LIVESTOCK      Florida Mkts.
ARCADIA STOCKYARD            RUSH CREEK          52        (52)             40         (7)          82           60             234             175
CATTLEMENS L/S MKT           RUSH CREEK          14        (14)             32          0           16           39             101              87
COLUMBIA L/S MKT             RUSH CREEK          12        (12)               1        (1)          19            4              36              23
HARDEE L/S MKT               RUSH CREEK          13        (13)               6        (6)          17           39              75              56
NORTH FLA L/S MKT            RUSH CREEK          16        (16)               7         0            2            9              34              18
OCALA L/S MKT                RUSH CREEK          18        (18)             10        (10)          17            9              54              26
OKEECHOBEE L/S MKT           RUSH CREEK          25        (25)             23        (23)          23           13              84              36
SUMTER CO FARMS MK           RUSH CREEK          14        (14)               8         0           11           23              56              42
TOWNSEND L/S MKT             RUSH CREEK            1        (1)               5        (5)          11           --              17              11
TOTAL LIVESTOCK PURCHASED - Rush Creek          165      (165)             132       (52)         198          196             691             474

Less: LIVESTOCK PURCHASED BY EASTERN          (165)                        (52)                                               (217)

NET TOTAL LIVESTOCK PURCHASED FROM
FLORIDA MARKETS WITH PAYMENT DUE                 0                         80                     198          196             474




                                                                                                                                            Page 50
Case 10-93904-BHL-11   Doc 1079-1   Filed 03/09/12   EOD 03/09/12 18:08:03   Pg 51 of
                                        55




                         Exhibit D




                                                                             Page 51
                   Case 10-93904-BHL-11            Doc 1079-1          Filed 03/09/12       EOD 03/09/12 18:08:03                   Pg 52 of
                                                                           55




AMOUNTS DUE FLORIDA MARKETS FOR UNPAID CATTLE PURCHASES: LEN MILLER/Eastern
                                         BUY                   HEAD    TOTAL          TOTAL                                                                 TOTAL
      MARKET             CUSTOMER       NUMBER     DATE        COUNT   WEIGHT         CATTLE            COMM.          FEED             TRUCK             INVOICED

I.E. "JIM" BYRD Invoice 291248
ARCADIA STOCKYARD     MILLER                32X   10/25/2010    21         7715   $      7,662.50   $      77.15   $          -     $           -     $       7,739.65
HARDEE L/S MKT        MILLER                32X   10/25/2010    10         3425   $      3,338.65   $      34.25   $          -     $           -     $       3,372.90
OCALA L/S MKT         MILLER                32X   10/25/2010    15         5515   $      5,451.35   $      55.15   $          -     $           -     $       5,506.50
OKEECHOBEE L/S MKT    MILLER                32X   10/25/2010    18         6340   $      6,182.80   $      63.40                    $         63.40   $       6,309.60
CATTLEMANS L/S MKT    MILLER                32X   10/26/2010    56        20685   $     20,933.48   $     206.85   $          -     $           -     $      21,140.33
SUMTER CO FARMS MK MILLER                   32X   10/26/2010    35        11850   $     12,025.80   $     118.50   $          -     $           -     $      12,144.30
OKEECHOBEE L/S MKT    MILLER                32X   10/26/2010    23         8175   $      8,130.98   $      81.75                    $         81.75   $       8,294.48
ARCADIA STOCKYARD     MILLER                32X   10/27/2010    42        15055   $     14,622.65   $     150.55   $        17.48   $        174.98   $      14,965.66
      Verified       TOTAL DUE FLORIDA MARKETS                 220       78760    $   78,348.21     $    787.60    $      17.48     $       320.13    $    79,473.42

Other Expenses
RON SIZEMORE         TRUCKING                                                                                                                         $       8,275.45
EAGLE BAY, INC.      TRUCKING                                                                                                                         $       1,181.40
EAGLE BAY, INC.      FEED                                                                                                                             $          75.00
EAGLE BAY, INC.      HEALTH PAPERS                                                                                                                    $          75.00
EAGLE BAY, INC.      YARDAGE                                                                                                                          $         660.00
EASTERN              CLEARING COMMISSION                                                                   78760 lbs. @ $.50 per 100 lbs.             $         393.80
OAK LAKE CATTLE      P&L                                                                                                                              $         739.22
       Verified      Total Other Expenses                                                                                                             $      11,399.87

      Verified       TOTAL INVOICED & DUE FROM MILLER          220        78760 $     78,348.21     $    787.60    $      17.48     $       320.13    $    90,873.29




                                                                                                                                                             Page 52
                   Case 10-93904-BHL-11           Doc 1079-1          Filed 03/09/12       EOD 03/09/12 18:08:03                   Pg 53 of
                                                                          55




AMOUNTS DUE FLORIDA MARKETS FOR UNPAID CATTLE PURCHASES: LEN MILLER/Eastern
                                         BUY                  HEAD    TOTAL          TOTAL                                                                TOTAL
      MARKET             CUSTOMER       NUMBER    DATE        COUNT   WEIGHT         CATTLE            COMM.          FEED             TRUCK            INVOICED

I.E. "JIM" BYRD Invoice 291254
ARCADIA STOCKYARD     MILLER                32X   11/1/2010    11         4060   $      3,956.75   $      40.60   $          -     $        21.35   $       4,018.70
HARDEE L/S MKT        MILLER                32X   11/1/2010    22         7915   $      7,436.75   $      79.15   $          -     $          -     $       7,515.90
OCALA L/S MKT         MILLER                32X   11/1/2010     8         2850   $      2,915.10   $      28.50   $        40.00   $          -     $       2,983.60
OKEECHOBEE L/S MKT    MILLER                32X   11/1/2010     8         2885   $      2,738.85   $      28.85                                     $       2,767.70
CATTLEMANS L/S MKT    MILLER                32X   11/2/2010    43        15830   $     16,063.70   $     158.30   $        19.82   $           -    $      16,241.82
SUMTER CO FARMS MK MILLER                   32X   11/2/2010    29        10190   $     10,026.00   $     101.90   $         7.96   $           -    $      10,135.86
OKEECHOBEE L/S MKT    MILLER                32X   11/2/2010    16         5875   $      5,673.95   $      58.75                                     $       5,732.70
ARCADIA STOCKYARD     MILLER                32X   11/3/2010     5         1825   $      1,813.80   $      18.25   $          -     $           -    $       1,832.05
      Verified       TOTAL DUE FLORIDA MARKETS                142       51430    $   50,624.90     $    514.30    $      67.78     $       21.35    $    51,228.33

Adjustment To Final Invoice                                    (4)      (1375) $        (32.89)                                                     $      (636.32)
                       TOTAL DUE FLA. MKTS. FROM MILLER       138       50055 $      50,592.01                                                      $    50,592.01

Other Expenses
RON SIZEMORE         TRUCKING                                                                                                                       $       5,681.46
EAGLE BAY, INC.      YARDAGE                                                                                                                        $         274.00
EASTERN              CLEARING COMMISSION                                                                  51430 lbs. @ $.50 per 100 lbs.            $         257.15
OAK LAKE CATTLE      P&L                                                                                                                            $         754.23
       Verified      Total Other Expenses                                                                                                           $       6,966.84

      Verified       TOTAL INVOICED & DUE FROM MILLER         138       50055    $   50,592.01                                                      $    57,558.85




                                                                                                                                                           Page 53
                   Case 10-93904-BHL-11                 Doc 1079-1          Filed 03/09/12       EOD 03/09/12 18:08:03                   Pg 54 of
                                                                                55




AMOUNTS DUE FLORIDA MARKETS FOR UNPAID CATTLE PURCHASES: LEN MILLER/Eastern
                                            BUY                     HEAD    TOTAL          TOTAL                                                                 TOTAL
      MARKET            CUSTOMER           NUMBER      DATE         COUNT   WEIGHT         CATTLE            COMM.           FEED            TRUCK             INVOICED

        TOTALS
I.E. "JIM" BYRD Invoices 291248 & 291254
ARCADIA STOCKYARD     MILLER                32X     10/25-11/1/10    79        28655   $     28,055.70   $     286.55   $        17.48   $        196.33   $      28,556.06
HARDEE L/S MKT        MILLER                32X     10/25-11/1/10    32        11340   $     10,775.40   $     113.40   $          -     $           -     $      10,888.80
OCALA L/S MKT         MILLER                32X     10/25-11/1/10    23         8365   $      8,366.45   $      83.65   $        40.00   $           -     $       8,490.10
OKEECHOBEE L/S MKT    MILLER                32X     10/25-11/1/10    65        23275   $     22,726.58   $     232.75   $          -     $        145.15   $      23,104.48
CATTLEMANS L/S MKT    MILLER                32X     10/25-11/1/10    99        36515   $     36,997.18   $     365.15   $        19.82   $           -     $      37,382.15
SUMTER CO FARMS MK MILLER                   32X     10/25-11/1/10    64        22040   $     22,051.80   $     220.40   $         7.96   $           -     $      22,280.16
      Verified       TOTAL DUE FLORIDA MARKETS                      362      130190    $ 128,973.11      $ 1,301.90     $      85.26     $       341.48    $ 130,701.75

Adjustment To Final Invoice                                          (4)      (1375) $    (32.89)                                                          $    (636.32)
                       TOTAL DUE FLA. MKTS. FROM MILLER             358      128815 $ 128,940.22                                                           $ 130,065.43

Other Expenses
RON SIZEMORE         TRUCKING                                                                                                                              $      13,956.91
EAGLE BAY, INC.      YARDAGE                                                                                                                               $       2,265.40
EASTERN              CLEARING COMMISSION                                                                       130190 lbs. @ $.50 per 100 lbs.             $         650.95
OAK LAKE CATTLE      P&L                                                                                                                                   $       1,493.45
       Verified      Total Other Expenses                                                                                                                  $      18,366.71

      Verified       TOTAL INVOICED & DUE FROM MILLER               358      128815    $ 128,940.22                                                        $ 148,432.14




                                                                                                                                                                  Page 54
                  Case 10-93904-BHL-11               Doc 1079-1          Filed 03/09/12         EOD 03/09/12 18:08:03                  Pg 55 of
                                                                             55




                                                                                 MILLER Invoice Numbers                                                  TOTAL
                                                              #291248                                              #291254                              INVOICE
Florida Market Total Due By Invoice          Head    Weight     Fla. Mkts.       East. Pmt.      Head     Weight      Fla. Mkts.       East. Pmt.       AMOUNTS
ARCADIA STOCKYARD             MILLER           63     22770   $      22,705.31   $      -          16       5885   $        5,850.75   $      -     $     28,556.06
HARDEE L/S MKT                MILLER           10      3425   $       3,372.90   $      -          22       7915   $        7,515.90   $      -     $     10,888.80
OCALA L/S MKT                 MILLER           15      5515   $       5,506.50   $      -           8       2850   $        2,983.60   $      -     $      8,490.10
OKEECHOBEE L/S MKT            MILLER           41     14515   $      14,604.08   $      -          24       8760   $        8,500.40   $      -     $     23,104.48
CATTLEMANS L/S MKT            MILLER           56     20685   $      21,140.33   $      -          43      15830   $       16,241.82   $      -     $     37,382.15
SUMTER CO FARMS MK            MILLER           35     11850   $      12,144.30   $      -          29      10190   $       10,135.86   $      -     $     22,280.16
TOTAL DUE FLORIDA MARKETS                     220    78760 $       79,473.42     $    -           142     51430 $       51,228.33      $    -       $   130,701.75

TOTAL FLORIDA MKTS. DUE From OAK LAKE                         $           -                        (4)    (1375) $        (636.32)                  $      (636.32)

TOTAL FLORIDA MKTS. DUE From MILLER/TRUSTEE                   $    79,473.42                      138     50055 $       50,592.01                   $   130,065.43

Other Expenses
RON SIZEMORE                   TRUCKING                       $       8,275.45                                     $        5,681.46                $     13,956.91
EAGLE BAY, INC.                YARDAGE                        $       1,991.40                                     $          274.00                $      2,265.40
EASTERN                        CLEARING COMMISSION            $         393.80                                     $          257.15                $        650.95
OAK LAKE CATTLE                P&L                            $         739.22                                     $          754.23                $      1,493.45
TOTAL DUE OTHERS                                              $    11,399.87                                       $     6,966.84                   $    18,366.71

TOTAL DUE From MILLER/TRUSTEE                                 $    90,873.29                         0        0 $       57,558.85                   $   148,432.14


Eastern Livestock
Due Eastern Clearing Commission                               $         393.80                                     $         257.15                 $        650.95
Amounts Due For Purchased Livestock                           $            -                                       $            -                   $           -
TOTALS DUE EASTERN From MILLER/TRUSTEE                        $       393.80                                       $       257.15                   $       650.95




                                                                                                                                                               Page 55
